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                                                              ¡IDJUSTABLN RATD NOTE
                                                            (5 Yenr Srvnp Rate lndcr
                                                                                          -   trtele   Cu¡ri)

                NOTI CONT4INS IIITOVIS]ONS ÄLLOTVTNC T'OR CT.IÂNGES IN NIY INTßREST ¡ì.¡{TE AND
            THI.S
            MY MON'TTILY PAI'MÊNT. THIS NOTE LIMITS IIIE, AIIfOI'NT MY INTURIL.ìT RATE CAN
            CHANGE ÂT ÂNT ONE TIME AND Tf{g MAXIN'UM R"ÀTE I IV¡UST FAY.

                                                                      ,   Christíanrted, U,5. Virgin lslands
                                                                      NorthsidE nnd Compan¡'Quûll¿rs, Sr, Croì.r, U,S. Virgin lslonds 00g?0

I.        BORROWE|l.'¡i PRQMISË TQ PÂI'
     ln rclurn lh¡ u loan thnt I have lec€ivqd, I promise to pe¡'u.s, s|,2.16,000.fi) (rhi* amount is called',['rincipal',), plus inrer*sr.
                                                                                                                                            ro
the order of lhc Lender. 'T'he Lender is Thç Btnk af Notq Sco{j¡. f s'ill lnlke all puynrents
                                                                                                    under i¡Ís Non in rhe frrîn of curh,
checlt or trroncy orrltr,
          I untlcrstond thr{ the Lendcr mat' transÍrt llris Note. 'l-he l.endel or flnyone rvhç hlies lhis Nole                  b¡   transfer itnd whp L
entiriud rr¡ rçceivc pa),nrentË under this Noie is cullcd thc "'Note !loltlrr.',
1,,         ¡NTEREST
     lntereslwill bechargedon.unpaidprincipa! until thefullamountoff¡rincìpnl hnsbeenpai¿. lwill payinrerel¡rtelerrlyr.ìteoi
4,68001o" Tl¡e inlere¡t rate I will pay will change in ¡ccordpnce rritfi Secrion 4 of this Neire.
           The inte¡sst mlc rcquired bylhis Sectiorr2 and Section4 of rhis Note is tlìe r$tc I will pa¡'horh heforc nnd ¡¡flc¡ an_v dclhulr
descril¡e¡l in Sc*ion 7(B) otrhis Note.
3.         TAYME¡iTS
           (/\) Timc ¡nd Plsce o[ pnyrocntr
     I rvilí pay principal ond lnterest by mnking â Fnymenr €very monrh.
           I rvill muk* my monthly pð)'rncnt on the fir:t day ol each rnonth beginning on Seplcnber l, 30ll]. I rvill mske thcsr
P¿ynlenl!    çvery                                         lthe  princípal and inlcrgst und any ûÌhèr chargês deEcrihcd bclow thd I nruy orvc undcr
thi¡ Nqte. Ëâcl                                            plied arolils schcduled due dnte and rvill be npptied ro inrß¡cs! betorc Frincipnl. lt on
August lr 2tl4                                              this Note, I rtill pay those umounrs in fuli on thåt daîe, rvhich is olled thc,.Mnruriry
Dûte."
           I rvill m¿ke tlry rnonlhþ
                                 Payments at The B¡nk of Novo Scotil Sunny tcl¡ Breuch, Sl croix, U.S. Virgin lslnnds or ¿t ¡
difTerent phce
             if rcquired by rhe Nure ltoldcr.
       (B) Åmounr o[ My ¡ülrtrl Monthly psyments
   flncholmyinilial rncn(hlypa]mcntJr+illbcintheamountufU.s.Só,.14?.26. T]itilmou:ììrnaychangc^
       (C) filonthl¡, Poynrrnt (lhnnges
       Changee fn nt¡'munthly pflyment rvill reÌlcc¡ chunges in thr unpai<l principll of my l¡alr nnti in th¿ inrcresl ntc thrf I
                                                                                                                                  ntusr
pay. The Notc Holder rvill deternrins my new inlcrest rate snd tlre cfiangcd {mount of rny montirly p*),ment in nccord¿uce with
Sectíon 4 of thìs Note"
4.         INTER&ST RATE Ä,NÙ MONT}ILY PAYMENT CI,lA.NGË.S
           (/\) Çhangc Ðates
          Thc intereçt r¡¡tc I rvill Fily nìûy chnnge on the fìrs{ day of S*ptenlber. 2015, un¡J on rhat da¡ cvcry 60th montll lheieafìcr
tach d¡rc on whích rny intemsr r¿rc coult! c"hlnge is called a',Change Date ''
          (B) The lnder
           Ëeginniflg tvith the lirst Chartge Dal*. rny inlerest ratc rvilf be b¡¡ed on ¡rn lndex, 'lJre "ln¡Jçx" is the J.Year Swup Rate as of
thë'I\reril)'Eißhlh (28ú) rtay nf each rnonth (or the fìrs following busilress duy itthe 28ù is on a ryeekrnd or lqdsral iroliday), us
madc availnblc by the Fedmal Rtsrrve Board, The moË1 recefit tnder lìgure avoilnhle as of the dste 45 doys bclbre eoch Chnnge tate
ls colled the "Cumnr lndex."
           lllhe lnder is no longer uvlilable, th{ },lalÈ Holder rvill choose ¡ neç index which it baserJ upnn comparatrle rnl¡nnrlion.
Thc Not¿ Holder wlll g¡ve üc norice ol lhis choice,
          {C) C¡lcul¡rlon of Cbanger
          llefbrç eich Clrlngt D¡te, the Note Holder will cslculate my new interest rate by adding rr+o nnd 55/100 pcrccntage points
(2'-J5%) l0 ¡hç Cunçnt lndex. Thc Notc Holdcr rvill then round the rlsult of this addition ro drc $ctr{s! one.eighth c f one pirc.nroge
point (0.125õzà)- Subject lo lhe l¡m¡l¡ slÈtad in Section 4(D) b*lorr', ùis rouodcd omount u'ill bc my ncrv inreresl rar* uniil the nçxt
Chnnge Date.
         The N                               lhen dctcrmine (lte ûmount of thc nronlhly palmcnt thnt would be sufTicienr ro repily the unp¡itl
principal thnt I                             o\ve al the ChartË,t þare in íull on the Maturity D¡te ar my nç\y interest r¿tc ín subslontiolly equal
payrnents.    The                           culation will be the ncrv ilmeufit ol.nry nronthly psylren(.


fìltlLtlsr,r'¡'fl Íit,\[D   IÙr I'E   NOTt*Srngk Fnmify*Frnntt M0?/]'reddt¡ $lrr trNlf;()8il IìT$-TRu¡lË\.T FOITI]! t?0û lÀr'l           l¡ø,9   I o/ip:get)
                                                        aL
                                                                                                                                                    EXHIBIT    I
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            (D)    Limlts on tnrcrcs( Rntc Chlnges
            Ille
              interest råte ¡ om rÉquired !o puy sl tho fint Çhange Datc will not br greal€r thm 14.68gä or less rllqn ll5%.
                                                                                                                             Thsrsafier,
my intff¿sl ralc will nevcr be increased or decrea¡ed on ony single Change Oate Uy more than ten percÊnt¡rge points (10%) honr üre
rateo[intercstlhavabeenpayinglortheprccedingó0monil¡s.Myintereslørewi]i       ncvsrb€grear*itlrar, !ff/not lessth¡n-].2S9ô.
         (E) Effectlve Drfe of Chexgß$
         M} neç inlcrÊsl ratc will become effectivc o¡ ¡¿ch Change Þnte. I rvill pay the nmounl ol my new monrhly payment
beginníng on tbe first monlhly p¡¡y¡nent dqtc after thc chungc Datc uniil the åmount of my monrhly paytnelìr ihunges agnin.
            (ÐNalice of Chongcs
                  w      .                                { nr¡¡ice of any chnnges in my interest rale qnd lhr ¡mount of my rnonthly
f'aym¿n'        içe                                      notlcc wlll include infonnttio[ r€quirÉr! by hrv to trc given rn. nn,l nìso the
   ond
titlc            ol      r                                sriy querfion I moy have regarding the ¡oiice.              'o
J.   BORIIOWER'S R'CHTTO             FRÍPAY
     I have the right tu make paymenu ul Principal at m¡. tirne be fsrc they are due. Â pûyment of principal onl¡' is known us a
"'Frepavment." Whrn I mnke n Prepoyrnent, I rì,¡li Ìçll ùe Note l.lolder in rwiti¡lg that I am doiirg so. l rnr¡,not'drsignote n påyr¡ìcnt
                                                                                                                                           0.s
n l¡repaymcnt if I havc    Dctr   rnoda all rhe monthly Fayilenrs due undcr rbe Nore.
                                                                                payin                   chnrge. The Note Holder rvill use nry
                                                                                te. l.¡                 e Holder rnay appll' my prepuynrcnr irt
                                                                                lying                    lo reducc thc prinripat arnounr of lhc
                                                                            duc dates of rny nronthly pðymenl unless the Note       llolder      agrees
                                                                            Ê åmount    of my rnonthly püymeflrs ofler lhe lirsr Changc              Date
following Ty p&rtlal Prepaymcnt. llorvpvcr" nny rcduclion duc to my puninl Prepoyntent msy be ofßct by an inferesr r¡tc inc¡rise.
6.         L(}AN Cf|^RCES
 .   tf a low, tvhich upplius (o th¡$ loan anct which nels m¡xÌmum lorn churges. is finally inrrrpretcrl so rhil rhs inrcrest or orher loðo
chlrBes collecled e¡r to be colleciedin csnnection $iÌh th¡s losn ¿xc¿ed úe pennittcd limils, then: (a) any such loan charge sh¡ll be
r€duc€d by the nmount ncces$ary lo reduce the charge to tÀe permítterl liniir; nnd (b) any sums aiæaay collected ñorn-ln¿ rvhich
cxcetded permitted limits will bc ¡*fundtd to me, Thc ï*rx¡ lloldct muy chtxrse ro make this refund by reducing the Prîncipal I o¡.u
undcr thiç Nole or by mahing a dircot pilymenl to me. lf a rcfund ¡cduces Principal, thc rcduction rvíll be rrerrcd os r panial
Prepoynenl"
?,          üoRft,twER's FÅtLuf{E To pl\y As               IdEQUTRED
            (A) Lrte Chrrges for Qvcrd¡¡a         Påym€n$
    lf the Note Holder hnr npt æçeivçd tfte full ûmounl of any rnonthly payfllcnt by thc e nd of ren ( l0) calcndar days alier rhe dnre it
ilduc, lu'ill payalnteËhárgÉtothcNr¡leHoldcr. Thcar¡rounloflhccharge will belive percent(50%)ofmyoverdueprynrento[
principal   ild ¡nleres(" I will pay thjs lstc charge prumptìy but only cnce on each lare paytnrnl.
            (B) Def¡ult
     lf I do not pay the full amount nf c¡ch monthly paymcrrr 0n the dãrd it is duc, I rvill l¡e ín defbult.
           (C) ßloftue of Def¡ult
           lf I ¡m in default, rhe Nole Holder nxy send ¡ne a rvri:fen nolice telling me rhår if I do not påy lhe ovc¡due arnounÌ by a
certfin d$le, fte Nolc Holder may roquirç me tû pay inrnredialcly the full ûmouilt ol Prinuipai rvhich lr¡s nol b€ên pûi.J úild Êll ìhe
inlerest th¡t I owe on lh¡lt ûmount. Thäl dat* must be at lç¡¡t 30 dlys aflcr thc dale gn *'frich thc noticc is rnniled to nrr ar delivered by
other meðns,
            (D)
             f\¡s r#alvcr By Note llolder
     Even    il,
            at o (imc r,¡ltcn I rm in dcfaull, lile Notr l'loider doe¡ not requirc me [o pay irnmerJiately        in fr¡ll as desuibecl obove, lþe
Note Hold¿rr+ill still havc ùre right to do so if I am in d¿l¡ult at a lrrcr rin:e.
            (E)    Prymeilt of No(e llslder'¡ Ce¡ts uorl [xptnsrs
            the lrlote l'lolder h¡s requircd ñc lo FEy immediatcly in full ¡: described obove, thr: ltot+ Holder will ft¿ve rhe righr to be
            lf
paid bock hy rne for ull of is cosls and cx?ens€i ín enlorcing this N¿rtc to lhe exrent nor prohibírcd by rrp¡licsble lnw. Thqs€ ,*peno.,
include, for exomple, reasonable anorneys' fecr.
L           CryrNc oFNoTfcEs
      Unles* applícablc law requircr.a dlflþrent method, ony not¡ce thut rnu¡t be given rD mr undfr ùis Nore will be given by deliwring
it or try maifing ¡l by nr$ class mail lo me at the Property Âddrcss ¡bovc orat a differe¡t address íf I give the NolelJolder a norice ol
my d¡fferÊnt address.
           An¡'nolice lhal mus¡ be given ia the Nots llolder untlcr ¡his Nole rvill be given by rleiiwring ir or by rnailing it by lìnr clnsr
rnsil to lhc Nole Holder nt the lddrtss stntcd in Sectìon 3(Á) above or at {¡ dífl?renr lddress if ! arn given a notice of ûal differcü(
addrcss.




l\t(.lLTlSTATE fIXeD RÂTe NOTÊ-Srnglc Family-Franlc ltl¡r/l'rrtrJlc lìfm UNIFORiI INS-I RUlll¡:¡\-l'FORlll 1100 l/{lt                       : tl'J
                                                                         p*
                                                                                                                                 {¡:"agz.            ¡xgêÁ)




                                                                                                                                                EXHIBIT       I
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 9,         OBL¡GAT¡ONS OF PORSONS TJNDER THTS NOTE
      lf .ntore llnn one pcrson 'sìgns this Notc, çach
                                                       ¡erson ís fully nnd person  to kcep nll of lh¿ pronriscs rnødc in rhi:s
 Rote" in{rludínglhc promí:s to pa)'rhe furr amou'i owctr, Anypcrson rvho
                                                                                  r, sìrrcr}, or endorser of lhis Nore i¡ urso
 obligatcd to do ¡hese rhings. r\ny pcrlon rvho takes ovcr rhcse oLligorions, inc
                                                                                  igrtions rrlu guaranlor, surct-J- {,r en¡Jorser
 oflhisNote,isnlsoobligatcd.tokrcpslt oftt¡epromiscsrn¡deinthisNore" ThcNorel.loldãrmayenforçrrìErightÉunderlhisNore
 aguinsteachpersonindividunllyoragninstatl          oiuslngether. thismeansthr(flnïoneofusmuyuárcquirertropr[.all oftl,ea¡lìounts
 owed un.ler fhis Notc,
 10.         \yÂtvERs
       I   at;d urty other ptrson who has ohligatioru undcr lhis Note wuiue rhe rights                of   presetìtfllcn{
  -                                                                                         ¡nd Notice of Dìshonor.
 'Pñrsënlmtnt"mcanslherighttorequirclheNotel{olderlodem¡ndprymcnlofnm;umsrlue.,.lrloricrofÞishono/,,n.un.tt*rigt,r
 to tequire the Notc Holderro give rlctiçe lo olher
                                                    Ferso¡s Ílt¡t åRlounts tJur: haue nor been pnid.
 I'.         UNIFORM SECI.III"ID NOTE
       Ïhis Note ig ¡¡ unilornt instrumenl   tY¡th lintiterl v¡rriations in some jurisdictir:ns. ln ¡rrlc.lition lo ìtte protecli¡rrs gi'rn ¡o rhe Nore
 llolder undcr tlti* Nate, aMongage                     sL <tr security oecd ithe ''Stcurity lnstrument"), dareä lhc $lmc {rûtc as this N*re,
Frolccis the Nolc liolder Fonr poss                     rich nright resuh íf I ejo nor kccp- the promisei nhich I rnake in rhis Norc. 'f hnr
Securi¡r' lnslïumcnî describes how n                    t coadirions I moy be requircd to m¡ke inrrncrtinre pa.ynenl in firlf of ¡ll nmt¡unls I
¡:¡re r¡nder rhis Note. Somu of ihose cr¡ndilicu¡¡ s¡e described u¡ follsrvs:
                     li nll or 8ny pal of thc Propertv rrr atty tntere st in thc Prupe rty is sold or t¡unsfe ned (çr rl Borrorvcr is nor a
          rlaluftl lcrron anr.t a beneficiûl in(mesl in Bonorvcr is sold or mnsfúned) wllhoul Len.ler's pri'r nrlnen conrer¡r,
          Lcnder nlay rcquireint                 tncnl in lull of aìl rums secured hy this iacrrriq. lntrrumen!. Holvëver, this oprion
          shall not be   sxercised               f surh cr*cise is prohibited b1,Ápplicablc t.nrv. Lcnrler ¿lso shall not e¡ercisc
          thir <rptíon  if; lìo
                              {¡i                cs ln hc aubnríncd to Lçndcr infrirm¡riun requirud hy l-ender to cvaluatc the
          intendtd trursfcrce ns ílo new losn il'ere being mntle lo thr hflnsfÊrÊe; ancl
                                                                                                  {b) L.nder rá*s<,nnbl¡,detrnnines lhat
          Lqnder's seruriry rvill nu t€ irnp¿¡rÉd hy thc loan issurnption and thnt the ri*k qla
                                                                                                                 bre¡ch of"ony covenanl or
          ûgreemeflt in this Securi{y lnsîrunìerlt is Ðcc¿¡rt¿hls tc¡ l,cnder.
                    To I                  tted by A'pplical¡le Law,   Lender                   rcn¡onable fee n¡ a condirion tu Lcnrler's
          0oll$rnt l0 lh                  iou' Lender ma¡,' nlso rcquire t                     lo sí6n an ðslumption agrccnreni llrat is
          aeceptable  to                  t obligntcs lhe transfcrce tokeep                   ses and ,go*,r,*nu r¡adj in t¡e Nnrc ond
          ìn this Security tnstrurtent' Bonorver rvill canlinue to be ohlignted unde¡ the Note nnd this Securiry lnstrumenl
          Iulets Lendrr r¡le¡rscs Borrorçer in sriting.
                    lf l.ender ctcnuisc¡ tlto option lo r*quire inrmedi¡ts påymenr in full, Lentler shalt give Ðorrower noricu of
          ¡ccelcraticn- The nolicc .shall provide n p*ríod ol nut l¡si than 30 dnys from the dnrc-d:e nstíce ís
                                                                                                                                      ßiven ín
          nccord¡ncc rvith Sq{ilion lJ wÍlhín rvhich Bonowçr musl pay all surns iccurcd by this Sccurity lnstromçnt.
                                                                                                                                             lI
          Aomrwer foils to pay lhese su¡ns prior to the rxpiration ol'rhis prriod, 1-endçr ffay ìnvckc any rcrnedìcs penlincd
          by this securiry lnsrrunlenr rvithnur fi¡¿her noríce or demurir o,¡ ilonorr'rr.


\\'ITN'ßSS"rl{E I1^NDIS} AND SËAt"ts) oË 1-H[ UNDHRStüNED,



                                                                                                                                                        fSeoll




                                                                                                                               {}iiy¡t örtgim{ ûnl.vJ




lUtit"Tl5f¿lTf, lj¡XU,D RáTÊ ñÐTÞ-$in¡lc Fmily-Faonlc it¡¡¿rFrnt¡tl* itlrc UNllÉOR,\t lf$STRUñ¡EI\I ÉOr{nl J200 l/Dr                        J   út -t   po* t]
                                                                                                                                    lqøge




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                                                                                                                                 \ æ{}}




    Al'lcr Recording flelurn tcr:
             -I.
    Somuel       Grcy, Esq.
    Nichols fiervr¡¡¡¡1 I"og,rn & tre,v, P.C.
    I l3l King Street
    Christianstcd, St. Çroix, VJ 0û820,497            t




                                                                      -l"his
                                                   ISpnce A[rsve               Line For Racording Daf           tl
                                                              MORTGÂGE
    DEFNITIÕNS

    wnrds used in nrultiple seclions olthis ¿locun)rnl ûre clefined hclow¡n¡l otlerrvqrrds arc
    2û and
                                                                                                defined in Sectir¡n.s J,
          f l' Ceriuill ntles re6orrJing lhe usage olrvorcls used in [his docurnenl arcalso provitXed in Section                                            ll, lj,   ltt,
                                                                                                                  l(i.
    (A) "StcuÍity            Instru¡r¡en!" !1rt¿ï¡!: ¡ltis   d<>curnent,     which is dtte¡l      }¡lr     14, ?0lrJ, tOgetlrcr rvith             cll   Ri<Iers h"r {hís
    o(Jcutncnt
    (ß)   t'Borrower'r        is
                                                                                                                                      ilcrrrq¡w<:r is thr: morlg;rßc,r
    unrJer   this Securiiv lñsiñmeri
 (c)  'rl.,enrlt'r" il TK0 llÄj\:x (}I'N{)V.A SCt'l'IA. n banki'g cor?or,ì.io¡l orgnnizcd ttnd*r ll:r lnrr._< r.¡f th,j llo¡niliiort
 canado rvìrl¡ ìrs prirrcipal place nf'business lry*.arc"il ár 44 Kindstrcet west. ïoionto,
                                                                                                                                     of
                                                                                            f.lnrnrio. (ìanado, n*tirlg tirruugh ils
 branch ofïce in St, Clrr¡jx, Uni¡ed States virgin lslands. LenJer's arjdres-ç is P.Ll.
                                                                                        B¡rx 77J Clrrisri¡nsrcrd. St. Cnríx, Virgiu
 lsl¡ndr 008?1" l-endcr ís üre rrclllgagcc unrje l this _\ucuri
 flD) "iVote" means dre pronlissory noie gi                                                                    a¡td                                     dstcd July l'1
 20i0.        "l'hc Nule stares f hnt
 Forly-Sir Thous¡rncl Dr¡ll*ñ                            t5 [t",.5. 5l,ZCh"t]fl{|.0{l) olus intcrcsl
I20{0.
                                                debt in regrllnr Ferinrlic Paynrents and to ¡r*y                                                            August
 (E| ''Fra¡reÉy"'rïcÍltls{ltr:properl"¡tlralirdcscribcdtrelorvunrler,hchearlirrg"-l'ra¡sl'crofRiglrtsinlhepropen;*,',
çF) lrlonn" nrc;lns lhe ¡.lebt *vi                        lhs Nofc, plus interest. ilny prep*ymenl chargrs onJ lnt* chnrgcs dr¡e'un<Jcr úre
Nr;lc" ¡¡reJ rl} su¡ls duc under thi                      ln-s[r-urnenr,   plus irrrcresr.
(G) "Rirlcrs" tt'rf,ill¡5 ail.ltitlers                    urity lnslnrment th¡l arc cxecurcd hy Ålnnc:rrcr.                 'l"hr--   fbllnrving Riclers ¡re to be
exccr¡te(t try llorrorver [check bLrn as .lpplicable]:

                 ¡\¡jiustnbie Î{af{ Rider fl
               ï.4                             Crrndçn'¡r,¡r,nl Rirjcr        û                                ,Ççco¡lrl l.lomr        R   jder
               n lltllo¡ln !{icler        L-"1 Plln¡rrr} Unít Develnpmcnr ftiCerfl                             Oth.ris) [s¡ocif¡,] _
               Ø l-t Ëamil-v" Ricler      n Bhveukly pxyrnru( r{ider          ø                                Fun¡re   Airl¡rn."          l{;; -
ü0 ".lpplicnblc l,ârt" nrc'¿ns;ril c,;ntrtrllirrg npplicable !çderai, sfi¡le n¡ld Ir<ai sr¡rutcs, regrrlotíons, ordin;¡nct"..ç ar¡4
adnrinistr¡tive rr¡lc.s and ¡:rtlcrs {ürat lravcr the eflect of, la*.) iì$ rvç-ll as tll rpplicatrle final xlr-app*alnt:l*
                                                                                                                           ¡ucjíciai
opirt   ir-rrrs.
(I)     "Conmunity Ässocittion f)ues, Fcel, nntl                  .4ËsessntÈ,
llre imposetl 0n Bnrrorver Õr lhe Prop¿rtr- b). n conCrrmilliurn
{J) "lifectronic f'unds 'l'ransfcr" me¡rns ñny tr¿nsler nf
sinlil¡rr pnper instnlrnenl, rvhich is inîl¡atcd lhrouglr ¡n elcc
(úpe.çc as ta urder, instntuq ür iluthorjze ¡r fjnancinl inslilutir^r
lirnited to, point<rf"sale lrallsfL'rs. nulr¡ntllcrJ teller nrachine transactio¡¡s, tratrsl*ers iníli¡ted hy telephonc, w¡re
                                                                                                                             tîlrnstì!sr
and îu{onilted         e   learinghouse tr¿n.sters.


                                                                                         P¿
VltfclN lSlÁl{ns*Íirnpk fa¡rrrl}*t"¡rrrnic tt¡crFrfiJrjh frlcr UtttFORt}l lr\STntlùtF,I,J.I   [."on¡   l0j,{ ltll                                   í¡npi(!t¡xtyts)


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 (K)   t'lìscrnrv ltemsn Ðeínr rtlose
                                      ircms tl¡ut ¿rc tlescribcd in sec¡i,¡n i.
 (L)   "Miscellancotts ProccedJ" means any cofirpçr]s¿t¡on, $sfllcmenl" award of damages, or proce*tls poid by ony rhird

                                      f;ff
                                       or
                                      f,
                                                                                          iil'ffiå,:ä:liü'"fJ;il.i::x;,:-;"îjiiffilî:ilJi;
                                                                             r condition of the prnperty.
 (ltd)                                      means iRsurance pmtectìng Lender againsr rhe nonpaymeniof, or defiull on, üe Loûn.
 (n) '                                      â!5 thc regulorly schcduled unount rJue for (i) principol and interest under thc Notc, plus                    (ii)
 any ûmounts undc¡ Section            I of this Security lnsùlmcnl
 {O)                   mean¡ lhe            Real                                        res   Acl (12 U.S.C. g2601 ct seq.) and its implementing
 regu                  lstion X (34 C.l?                                                g.¡rr be arnendcd from tinre tt¡ ti¡ïc, or nny addirional or
 succ                 lion or regulntion                         bjecr mafter- As usecl in rhis Security Inrtrumenr. ,,RESpA,'
 rsfêrs lo nll requircment-ç and restricf ions that nre irnposad in regard to a "federnlly relotetl rrorlgage loan', even if ûhe
 Lo¡n rJoes nol qualify as a "f€derally related ¡nortgûg€ loún'" unde¡ RESPÅ..
 {P} "Succeesor l¡ Intercst of Dorrnrver't mcaûs f{ny p{rty lhflt hrs tükën title ro the Property, whcther or nol {håt pårty
 hns assumed Bo¡m\ver's obligations under the Note nnd/or t ris Securig lnstrunrent.

TR.ANSFER OF RIGHTS IN THE PROPERTY

This Secrrríty ¡nslrument resures tc Lenden (i) thc rcpaymcnt of the l,oan, and nll renewols, exlen$ions ancl modilìcslions
of ¿tre Note; and (ii) t^he perforrnance of Ilo¡rower's covenûnts and agrccmcnls under this Seclrrit)¡ In-çlrurnent ¡nd
                                                                                                                         thc
Nate" I"or lhis purpose, Borrorver does hereby
mortg.ûgs" granr ønd convéy to Lentler fhc follarving <jercribcd prôpery locnterl nn:

                             5"T.    CRO¡X, TERRITORY OF THE IJNITF]N STAI'ES VIRüIN IST.ÁNÐS

                                                    (comprising 0.866 and 0.701
                                                                u.s. açre" tnorß or [rss" respeetively), Esfate
                                     and Ünmpnny Quatlcrs, S1. Crnix, tl.S, Virgin lsl¿nds, as Ínorë patirulnrly
                                                   cle
             shorvnnnûI-tiDrau'ingNo"4g9 l.<Jarecl MayB, 1g95, laçrreviscdnz!ayil, toos,



¡vhich currcntly has tlre a<JcJress tlf Plot No$. 2l und ?34 of Estote Judith's l¡ancy, Nc¡rtl¡sícle and Cìmpany
                                                                                                                 euarrcrs" Sr.
Crsix, t"l. $. V rgin lslnntls { " Proçrerty Þescription ")l
                 i




         'tOfiE"fH$R WlTll all the im¡rrovern€nls .¡ow or hurcnfìer ereetcd
                                                                                         on lhe ¡rropcrry, ¡nd all easenìents,
appulcni¡nücs" ¡nd fixtures norv or hcrc$fter a parr r:f ùe property. Alt replacements and additions shnll also be covered
by this Securiry lnstrurnenl. ¡1 ll af the furegoing is rcfened to in this Sccurìty lnstrumenl as the "Pro¡ær\.,"

       ÉüRROWER COVENÁNTS that Bonower is larvfully s¿iscd of ihe esta(s hereby conrieyed and has rhc r.ig,ìrt ro
mortgåÊc' 8rï¡n{ ând cnnvey the Properr¡ ond that the Properry is uncncurnt*rr:tl. cxccpl fbr cncumbranccs of recor¿.
Borrorver rvâtri¡ttlf; and rviff dcfcnd gcncrally the ¿itlc io the lìroperry against all claims nnel demnnds, subjæt tô ¡n]"
encumbrances of record-

         Ïlt¡S SEttJR¡'¡'/ ÍNSTRUMENT combincs unilc¡nn côvensüts for n¡tional usc and l¡on'nnifr-rrnr üoxcnants ìvith
li¡nited variations by jurisdíction to üunstìlutc a unifiorm securify instrumcnt covcring rea{ propeity^

         tJNIFORM COVENANTS. Borrr¡wer and Lender Èov¿nant and agiee as lollows:
         l. P0yment of Prineipol, lrltercst, ßscrorr llernr, Prepnyment Chnrycs, nnd Latc Chargcs. Bono¡vrr shnll
pa.y tvhen due {he principal of" and interest on, thc debt evidensed by the No(e anrJ any prepl}'nìent chnrgcs nnd lnte
charges duc unde r the Note. Borrerrver shall rlso po.y funds for Ë,scrorv ltems pursurnf (o Section J- Paynreni.s elue unclcr
¡he Note snd lhis Scuuri{y lnstrurnenl. xhall he nrade in U.S, crrrency. Ilorvever, ilany cfieck sr othcr instru¡ncnt rccciverl
by l.-cnder aE ptyntcnt under the Note or this Security lnstrurnent is retttrned to l,enrier unpaid, Lrnder rna¡, require thnr

                                                                                     Ðz
VlllGIN l5l-ôltiD5-Stn¡;lr fanil¡*   É"e   nnle   il¡dÉ'rrdrlir l\lr¡ UlYlË(lRlìl lNgfRLttìlt,N'T tiorn   l{ii4 I r0l               (wxe   7 oI I   I   gos¡il



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 any or alì suhsequenl pð-vments due undcr the Note lnd this Security lnstrument be ¡rrade in onc or niure olfhe ltrllarv¡¡g
 fornts, as selected by Lender: (a)cash; (b)rnoney order; (;)certifiecl check. bank check, trcssurcr's cheek or cashier's
check, provided any such chcck is drnrvn upon an institution wäose deposits are insurctJ by r federal ügenry,
 instrumentality. or enti,ty; or (d) Electronic f unds Trsnsfer.
          Paymcnts nre dEemrd receivcd by Lendcr when rcceived at thc location desigrrrted in the Note or at suc¡ orJler
locati<ln &s rnsy be designotcd by l-cnder in sçcnrdance with the nofice prclvìsisns in ñection 15. Lender ftny return any
paym?nt o                                                   prlynreÍìts are insttfiìcient lo hring dle Loan currenl Lender mcy
accept nny                                                  bring thc Loan eunent, without rvaiv€r of any rights lrereunder or
projudice                                                   I payt nts in the future, but Lender is not obligaicd to apply such
payments at the tirne such payments are acceptetl.                   iodic Payment is øpplied as ¡f its sctreduled ¿u" åotå, th*n
l-ender nccd nol pay interest on unapplied funds.                 ay hold such unapplirå n¡n¿s until Bsnou,er malies p"y**nt
tobringtlrcLoaneunËflÎ. lfBBnowerdoesnot¡loscwithinareasonableperìodoffirne,l,endershall                        eitherapptysuct,
funds or retu.n them ts Borrower. lf nor rppfied carlier, such funds will be uppfied rû tfiE $utslðnding pnncipûl'btlance
under tl¡e Note immediatcly prior to foreclosure, No offset ar claim which Bonowcr mig¡t hove nJw or ¡ri the lurure
against Lender shall relieve Bonower from m*liing pa"yrnene due under the Note anJ this Sccuriry lnsfnrment ûr
  perfbrming üre çovenants and agrenmenls sccurcd by tlris securiry lnstrunrent.
            2                                                                  athenvisc clescribed i¡r thís Seclion 2, oll poymcnrs
  nccepted                                                                     g o¡der of priorify: (n) intcrsst due under it * U"r*;
  (b) princi                                                                   3. Such payments shail be applied ro each Periodic
  Payrnsnt                                                            B ¡rmounlr shall be applícd first to late charßes, srconcJ to my
  olher amouills due under this Sccurity tnstrument, and then to reduce tlre principal balotce of the Note-
            lf Lender rqccives a Payrrpnt from Borrowcr lor o delinquent Pcriôdic Payment rvhícû includçs a suflicient
 itRsotlfll to P¡y any lele chuge due , lhe- pâyrnenf may he applied to the delìnquent paymçnt snd rhe latc charge. lf more
 ilran one Feriodic Paymnnt is outstandir¡g, Lendcr may appiy any palrnont receive¡l frorrr Bor¡orver to lhe rJpayment of
 tl¡e Pcrìodic t'aymenls il, nnd to the e,.r-ient (hfl|, eôch payn¡eot qu¡ bc paicl in futl" To thc extcnt [hat ony eici.çs cxists
 alìer the
             Plymlnl is tpplied ¡{i the lull payment of onc or rnore.Pcriodic Payrnent"s, such excess rrray bc npptieA ro any late
 charges <Jt¡c. Voluntory prcptymer¡ts shall bc applirrl tìrst io arry prep¡r"vmënt churges and rhen ¡s describerJ in ths Note .
 r\ny applicatíQn of påymcnts, insurance prureeds, cr Miscellnncous Prûceed$ 1o principal duc undcr the Nr¡lc .sholl not
            exlçnd or postp$ne thc due datr, or changc thc åmounl, olthe Periodic lraymenls.
            3. Tìuod.s for liscrorr flcnrs, Bctrrr¡rver shall pay tr.r l-entleron tlre rJay lleriod'rc Pa¡,rncnls flre rJur unrjr¡¡ the Note.
 untitr thc Note is paírl irr ittrll, a sunr (the "Ftrn<ìs") lo provide f'nr pnyrnent of ¡rnnunts dire l'<lr: (a) taxes a¡rd arsessr¡lcnfs
 arld other ite¡r¡s rvhich çâr ûtulin priority o!.cr (his $ecurity fnsìrumenl ns n lien t¡r cnctrmbrirncß on rhe properry; (bi
 lc¡schold på)rncnt$ or ground rcnls ou thc Propcry, i[any; {c) prcmiums fi:r any and all insurance required by LentJer
 r¡nder Seclicn 5; nnd (d) Mortgage lnsurancc prcmiurns, íf^any, erony sum$ payable by Bonorverto t-cnder in lícu of rhs
 pâymcnt of Mortgage Insurance prcrniunts ìn accordance with {hc prcvisinns ol" Secrion 10. 'l"hesc items are callerj
"Eserow ltems"" At origination or ¿t any lirne during thc lsrm nf" thq Loan, Lentler mny rcquìrc that Community
Association Dues, Ëees, nnd Asscssments, if nny, be escro*,ctl by llorrorver, and such dues, fees nnrJ ¡rssessrnenls sh¡lt be
an Escrorv ltem. Bcnotver slrnll promptly furnish lo Lendcr all notices n[ u¡nounls tn bc pníd under this Sectiqn
 llorrclrvsr shall pay Lendcr tht Funtls for tscrow lterr¡s rrnless kndcr rvnives Rômorr¡e¡'s obligntion ro poy the Funtls lor
i¡ny or all F*çcrcrv ltcnls. LencJer ntay rvaive Borruwcr's otrligatiorr lo ¡lay to Lcnder Funds for any clr all Escrorv llenrs at
nny lime. Any such rl'âiver nroy only be in writing" hr the eyeRt of such rvaiver, Eorrower shntl pay diru:tly, when and
rvhere poyahle, {lìe amounls clu* for any Ëscrow ltcnrs fo¡ which payment pf Fund"c has been rvailcd by Lender and, if
Lender requires, sh¡ll fumish lo Lcnder rcccipts evidencing such payment n íthin such time period as Lcnder may require .
ßorrc;tver'"{ obligatíon lo mskÊ such payments and to provide receipts shalt f,or nll purposes be deemed to be a sovcnanr
ancl agreement cqntåined in this Security lnstrumenl, as fhe phrasc "'covenant and agreemenl" is usecl in Section f,l. lf
Borrorvcr is obligatcd to ply Escrow ltems directly, pursüânt to n waiver, nnd Borrower fails to pf,y thc âmount due fi:r un
Escrorry llern, Lcnder may exenise iL$ righls undcr Section 9 anú pay such smounl ¡nd Bonorver sh¡ll rhen be obligatcd
under Section I to repay to Lender any such amount. Lcnder may revoke lhe rvaive r ils tr, ân], or rll Escrow ltems oT ony
time by n nrrtice given in occord¡nce rvith Seetion l5 and, u¡ron such revocalion, B¡lnoler shull pry lo l-ender ¡ll Fund.s,
and in such ¡¡rnounts, {lrot are then rcquircel under thÍ.r Section J.
           l-ender moyr ðt any timn, collcct and hnltl Funds in î¡n ilrnoun( (a) sufiìcient to p€nnit Lentíer to apply rhc fiunrJs at
lhc time s¡:ecifìerJ under ItESPA, antl (b) nr¡t tci exceecl the maximlRr ilmounf n lendercnn rer¡uire under R[*SP"4 Lender

                                                                           T-) "-
                                                                          #¿-
                                                                                                                           Qxtgrlq/ll¡nysì


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  sh¡rll cs{imate the ßmo¡Int ol'FunrJs riue on rhc b¿sis           uf çurrrlrr   cluta on<J relsqr¡oble esrinrô(es   of   e.rpen<litrrres   of fulure
  Ëscrorv llems or otherwisc in accordance with A
           l'hc Funds shall bc held in an instiruiion
  iincludìug Lender, if Lender ís an institution wh
  shall apply ûe Funds to påy the Escraw liems




         lf therc is a sutplus of Fïnds held in escrow, as defìned under ft-tiSp,{, Lender shall account lo Borror,ver
                                                                                                                       lor tilc
 excess funds in accordance rvilh RãSPA, [f there is n short¡ F'un<is hekJ
                                                                                 ia escrow. as definecl under LESpA, Lendcr
                                                                    ll pay to Lencler the amount nccessaÐ, (o mnke up the
                                                                    thly payme nrs" tf there is a deficiency of Funds ¡el¿ ¡n
                                                                                   required by R-Ë.SPA, and                              to Lender
                                                                                    RESPA, but in no more t                              mcnts
                                                                                   lnstrumcnt, Lender shafl                              Borrolver

 _        4. Chnrges¡ Lir:ns. Ëorr                                 ments, ehnrgcs               impo
 PropÊrty whìch can attrin prioriry                                  lemehold p-ay              ound
 any, and Communily Associ¡tiun                                    if uny, To fhs               these
 Borro¡ver shull pey thcm in tho msn¡rer provided in Scction 3,
          Br:rrowcr shall promptly                           has priority over thís securiry fn
 ngrecs in writing to the payment                           by rhe licn in u manner acccitab
 ns Þonnrver is pcrlbnníng *uch                             e lícn in gerod faith by, or dlfen
                                                                          eratr fo prßvenl ¡he cnforcemenr of the lien rvhile thme
                                                                          rs coneluded; or (c) secure.s from the holdcr o[ the lien ¡rn
                                                                          is Sccurity lnstrumenl. lf Lenrter dctcrrnines lhat lny pa$ Õf
                                                                           thís Sccurity lnslrumer¡t, Lender nray give Borowern notice
                                                                          I notice is giverr, Bor¡owcr shall satisft lhc licn nr takc Ðrrc or
more of tlß ae{ions srl fort} abcve in {his Section 4.
        Lender may rcquíre Bofforver ¡ó pey ü L''ne-liltlc ch$rÂÈ fur               I   ¡enl e5l¡]le lÃx verif ica(íon anrì/or reporting .scrvice
used by Lender in connection wirh this Lclarr.
          5' Property Issurancc. Sorrowcr shall keep the i                 ncrw existlng eir hereafier erccted ün the praprny
instrrcd-ngainst loss by fìr*, haz¡rds included within tllc tc             coverugc".'ãrrd any <lther hez¡rds including, bur
not lirnited lo, ealhquakes and flouds, for r.v|¡iç|¡ Lender re           ance. This Ãnsurance sh¡Il bc mnintnincd in thc
ümoilnls (inclucling deduetible levels) and for thc perio<ls thnt Len<jer rcquir*s. Wh¡t l-ender require.s pursuanr
                                                                                                                          ro lhc
preceding s:Ênl€nces can chaRge during the {ernr of th¿ l-o¿ n. "l-he insuiancs carricr pruvirting
                                                                                                       tirc jnsr,rrance i¡uil rr*
choscil by Eorrorvcr suhject lo Lender's right to disnppruve Bcrrowcr's choice, rvhich righr shall
                                                                                                              lrot be exerciseo
unreasonnbly- l-endermayrequire Borrerrvcl'lopay,inçonnec(ionlv¡ththisLoan,either: (s)Ione-tirnr.chargeforlloor1
eone delrrmination,  eertifìc¡tion                               ces; or {b)
ceilfìÐ{tion srrvíc*s ard subsequ                                 me remriFp
aflecl such detenninntinn or ccrtifi                             hall aho   É
Federal Ë,mcrgency Management ,4,gency in conncclion rvith ûe r
abjection hy Sorroler,
        lf Borrolver lails lo nqainHin rny of the covernges dcsc¡"ibed abovc, f.,ender" rnay oblain insurancc çoveragc, ål
Lendrr's option and Btrrower't expenss. L¡ndcr is unàer no obligatír:n ru purchase aíy pnrticular rype
                                                                                                             ar unro,ini ul'
                                                                                                      Forrower's equity in
                                                                                                     vide greuler or lcsser
                                                                                                                        age so obtained rnighr
                                                                                                                        rsecl by LenrJcr undcr

                                                                             u¿
                                                                             f)
vlRqfÞi I'Sl4l{DlF-Iinfl( tånrrly-}'¡ñr¡jE ìllac/Frrddh it¡c UNtfoßl\l lNSTflUôlËñ*t' tføm        j.t lú I
                                                                                             Jü                                   finB¿1oÍIt¡xgw)


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  this Scstion 5 shall become additional debt of Borros'er secure<J by lfris Securily lnstrumenl. 'Iïese n¡nounu
                                                                                                                       s¡ull bcar
  inlerest st tle Note rare from the dnte oldisburscrncnt and shall be payable, rvith such intcrc.s! upon
                                                                                                          notice f¡onl Lendor to
 Borrçrye¡ rerlue$tìng pðymçnt"




         I¡ the evcnt of loss, Borr<rwer shall give pmrnpt
 proof o[ loss if not rnade promptly by Borrou,er. Unlçs.s




 progrçss paym?nts     a                       leterJ. Unless an agrcement is     rna                   Applicable Law requires inleresl
to be pairf on such                        , l.nrder sh¿ll nol-bc required to                 any interel or earning¡ ol¡ such
proceeds. Fccs fo¡ public adjrrstsrs, orottrcr tlrird parties, rctained by                    nor be paid our of thiinsurance
proceeds ¡nd shnlt be the sote obligation sl Bonr¡rver. lf lhe restr¡rntioo or repair is noi econo¡nicully
                                                                                                           feasible or Lçndcr,s
security would be lessened,^ the insurance proceeds shall be applied ro the su¡ns serurer.l by thíísecuriry lnsrunrcnq
rvhethcr or flot thrn rlue, with the erce.rs, if any, paid ir¡ åonowei. Such insur:nnce proceeds utolt t* applied
                                                                                                                    in the order
 pruvided for in $ection ?.
         lf Borrower ¡l¡nndons rhe Pnrpcffy. l,cnder nroy fiie, negotiûte and scttlc any nvailable insur¿nr:e clain and relaterJ
 måHels, If Borrorver does nct respond within 3Û days to ¿ nrrticc Fonr l,ender rlrâ¡l lhe insurancc canicr has offerrd ro
seltl¿ ¿ slcim, ll¡pr¡ Lcnder moy ne&ütiatc anrl ¡eille the cloim. 'l1e 3O-day pcriod will begin when the notice is gi""n.
                                                                                                                               ln
cÍlher event, or if l-ender acquires tha Property under Secti<ln 22 o¡ nrirenvise, Borrãlur". hercby assigns rä l.o¡*,
(a) B0rrower's rights lo any insurance proceeds în an amount uot lo e,çcecd rhe amounlc unpaid rm<Jcr thi Nore
                                                                                                                          or thi.ç
security lmslrumen!, and (b) flny olhrr o[ Bsnower's rþhts (other thnn the righr ro
by Bonorver) un<jer nll iluurance policies covcring the propeqv. insofbr as iuch r
thc l¡roperty. l-ender may urß the insurancc pmceeds either to repair or restorc !
unde¡ tltc Nole or tbis Securi[y lnstrumenl, whclhcr or not then duc.
         6. Occu¡rrrnty.- 6orrorver sha[l <xcupy, cstnblish, an¡t use thc Properlv as Borrolçr's principal residcnce within
(rü dnys afler thc excculion of lhis Security lt¡strurnelrl anr.l sh¡rll continue to
                                                                                     occupy the Properry ¿s Borrower's principal
rssldence lbr at least ùnÊ yeår afier ùe dnte of occupâncy, unless Lclrdcr othcrrvise agrees in wrìting, which consent shall
nql bc unrealonably rvithheld, út unless exlenulting cirçumsl¡lces crist which arc belond Burrnrver's coirtrol.
         7. Preserv¡ttitltl. Mainltnancc und Protc,clion of thr Pru¡rert'y; Inspectiuns. Bçrrcwer slrall not dcslru¡,,
dantage or ilnpair the ProperTy, allow the Propcrry ro detcric¡r¡to o¡'cuur¡nit lv¡tsle o¡ t¡e Propcl"ty, Whcther úr rìol
Bt:rror¡'cr is rnsiding    in lhr Property, Bonorver shall maintain llre Properry in order ¡o prrv{¡t the properly lr.,nr
deterioraling r:r decreasing !n value due to ils condition. LJr,less     it is eletermincd ¡rursuant to Section 5 thnt rr¡air or
res                             ally feusihle, lJorowcr shall prornptìy repnir lhe Property                    to ayr¡itl furrhcr
dct                              nsurarce or cc¡ndentnation proceccls arc pair! ìn conr¡ection w              , or thÊ taking ot
the                             be responsibtc for rcpairìng or rcstoring rhc Properly only if I-             ascd procreds f'ur
suehpurposes' Lenrlermaydisburleproceedsfarther*poirsandreslarutioninasinglepaymenlorinaserieiofprogress
paymenls as lhe work is com¡rleted. Il lhc insu¡ancc or condetnnalion proceerls ore nol sufficicnr to repair or ¡'.ito.Ë th*
Propert¡r, Bonowçr is not relieved of Bonower's obli6ation fpr the complelion of ¡uch repair or reforation.
         Ler¡der or ils ngenl may make reasonatrle entries upon and inspections of thc Froperty^ If it ha-ç reasonable cause,
l,cnder may inspect the lnterior o[1he improven¡enls on the Praperty. t,ender shall give borr6*er norice ar the time of .r
prior to such an intçrior inspeetiorr spcciþing stch reasonable          cause,
         8.  ßûrrotver's Loan Applicalirn. Bonorver shall be in elelault if, efirring (he l-oan application process,
BorrÒrver o,r í¡ny pcrson! or cof ities Êcf¡ng ôt thc direction ol florrsrvur or with Dorrowcr's hnowledgc o¡' .onront guu"
materially false, misleading, or intçoumlß information or stûtements to Lendc¡ (çr lniled ro provide Lcnder rvirh maörial

                                                                          pt,
                                         @,
VlltGlN lSl'tNflS-Sin¡h fumily-É'rnnlc trfn¿/tlcdrtic ñt¡r UNIFORT\I tNSl'l{UìlUt{T for¡n 3014   tnJl                    lrrgelo!ll¡nsç.|


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informatian) in connectlon rvith lhc t-oan. Maleriol represenialions inclucle, but are not !imiteci lo, re¡rrescnlations
concerning Borrorver's occupäncy ofthe Property as Borrorvcr's principal residence.
          9,   Frote{tioñ of Lerdtr'"r l¡ttrest in the Properry and Rigtrts Under this Securie l¡srrument. I(
 (a) Borrorver fails tc perform the covenantß rnd agrcemenu contsinud in thís Security lnstrument,
                                                                                                             [b] there is a iepl
 proceeding that niglrt signilicantly affect Leneler's interest in thc Property and/or rights undcr fhis Securíty lnsrrunrclrt
 (such ns a proceeding in bankruptcy, probalct for condemnntion or forfeirurc, for cnforcem¿nr of a licn which nay altein
 prioríty over this Sccuríry lnstrumenl or to enforc€ lnws or rcgularion-s), <lr (c) Borrolyer hns nhnndoned tfic Property, rlret
 lxnder.nray do nnd pay lbr wholever i* rea-son¿ble or appropriate to pmrect Lender'$ inteæst in rhe l,roperty and rights
 undm fhis Securi| Inrtrument including Fmfccting and/or assessing the value of úc Property, nnrt iecuring and,/or
 repairing üe Propeny. Lender's actions can include, but are not lirnifcd to: (a) paying flny sums
                                                                                                        "qecurcd by a lien which
 has priority over this Securiry lnsrumcnt; (b) appearing in court; nncl {c) paying rcasonatrle åftorneys' fees to prorect ils
 inlerssl in the Propeny andl/or righu uneJer this Security Instrument, including it.r secured position in a bankruptcy
 proceeding, Securíng the Pmpe(y incìudes. but is not lìmitcd to, entering the Propcrt¡- rû mtrkc repnirr, chnnge lockr,
 replace or bogrd up doors and rvindorvs, drain rvater lrom pipes, climinate buildíng or otlrer code violalions or clungerous
 conditionr, and huve utilities lunted on or o(I, Although Lçnder moy take {rctio¡r undcr this Section g, Lenrler dçes nor
 have tq ilo so ancl is ncrt undcr any dury or abligation to do so. lt is agre etl that Lender incurs no liability fnr nor tahing
any or all aciíons au¡bori¿ed unçler this Section g.
          Any amounts rlisburxd by Lcnder under this Sectîon 9 shnll hecolle udditionol debt sf Bt¡r¡ower sccurcd hy this
 Security Inslrument. JÏese arnounts shnll bcrr intcrest at the Note rate frorn the dalc of disbursement and shnll br
 plyable, witil such intercs! uporr no{ice fiom tender ro Eormwer rçquestirtg payment.
          lf this Seturity lnstilnrcr¡¡ is on a leasehold, ßoffowsr shall eomply witl¡ all the provisions of ll¡e lease. lf
 Borrorvsr rcquires fee litle to the Property, thc lemchold and the lþc títlc shofl not nlerge unles,r Lender ngrees to the
 mßrgcr in writíng.
          10. Mortgogr Insurlnee- lf l"ender requircctr Morrgagr Insuronce as a condition eif rnaking the Loan. llonower
shalt pay Lhe prcmíums required lo maintain the Mr:rtgpge lnsumncc in efïecf . ll, for any reâson' the Mortgage Insurance
cüverage requircd by Lender cqlsßs lû he nvirilnble from lhc mortgage insurer thnt previously provirJed !¡uch insurance and
 Bonower wns required to nlakc separately designated payüìents tow¿rd the peerniums for Mortgage lnsurance, ]Jorrower
shnll ply the premíums rcquircd to obtain €overûße substantially equívalent to the Mortgagc lnsunmre previousl¡' i¡
effecl at a cost st¡bstantially equivlllenl lo lhe cosl lo llorrorver of the Mnrtguge lnsurnncc previously in effi:ct, lronl a¡¡
alt¿rna{e mortgs&e insurer sclectcd by Lendcr ff substantirlty equivalent Mongage lllsurance cover¡¡He is not nvailable,
Burr<trvcr shafl continrp lo pily tu Lendcr the anrouct of the scparatcly derignated payments rhat were due when lhc
insurunce covcr¡ge ccassd tú bc in effsct, Lender rvill occept, tlse flnd rslain lhesp peymeols as o non-refund¡ble loss
rescrve in lieu of Mortgnge lnlurance. Such loss reserve shall bc ncu-refundnblc, norwidrstanding lhe fact that tlrc Losn is
uitirnatcly paid in full, and Lcntler sbnll not bc rcr¡uired (cr pny Borrower any in{orest on enrnings on suclr loss rcsene.
l*endercan no longer require loss reserve påymçnl-ç if Mongage lnsuronce üoverage (in the onrount nnd for thc ¡reriod thot
l,enrler requires) pt*vided b¡'nn ínsurer.çeleeterl hy l-ender agnin becomes nvailable, is obtained, and Lcndcr rtquires
separolcly tlcsignntcd påy,Tìcnts lrrrv¡rcl the prcrninms ftlr Mortgage lnsurance, If Lender required Mofigage ln¡ur&rce a.s
a conditisn uf nraking tlle Lonn ¡nd Bsrrnrver rval required to m¡lkc scparntelv designaßd pi¡ymcnlc lorvard the preRríurns
lor Monp.age lnsurirrrce, Borrorver shall pay the prenrirrms required ln rnointnin lvlortgape lnsurance in cffect, nr to
provide u non-rcfundat:lc loss rgricrvs, until Lenclçr's rcquircmcnf fbr Mortgagc lnsurancc ends in accordance rvitlr iu,v
lvritten ûßreË¡nqrìl l¡etrveen Borrorver ¡r¡d Lerrder providirrg for such {crminn{ion or siltil (cn¡rinntion is rcquired trt'
Applicable L¡rv, Nnthing in lhis Sectíon l0 allecls fJorrcrver's obligation lu pay inleresl at the rule provldcd in the Nste
          Morlgnge lnsurance reimbur*cs l-ender (or any enÌìty (hût puruhases the Note) for ceflain los*es ,it mny incur rf
lJorrorver does lrot repry tfie Lourr us ngreed, Borrolvcr is not n pflny to the Mortgrge lnsurançe,
          Mongage insurers evalusle their total risk on ¡ll ruch insurance in forcc lror¡l ti¡¡re lo tinrc, and moy eflter into
¡lgreements rvith other pafiies that shore or modiff lheir risii" or reduce losses. Tl¡ese agreenrents rre on terms and
condilions that are satislnctory to lhe mongage insurer and'the other ørnÏ (or parries) to thesc agreements. 'fhcse
nË¡eements nray require fhe mortgagc insurer to make pilymenß usíng ûny soilrce of fund¡ that tÌ¡e mortgrgç instrer may
have available (which may ìnchde funds obtuined fhom Mortgage lnsuranee premiums),
          As a result of there ngreerrìe¡rfs, Lcndel. any purchaser o[ the Nole, onother insurer, ony rcinsurrr, any othcr
r:ntity, orÀn),amlinte olany of'the foregr:ing, may rcceive (directly or ìnclirectly) arnounts thut cJerive from (or might be
chor¡cterizËd as) n portion of Borroyø\paymrnls lnr lvlortgage lntumncc, in cxchange for sharing or modifying the

                                          futl
                                          Rgj-*                             âz
vlRçllY ISLANoS-$rngk firmìly.-.Frnnic lrl*t/Frt(lrlic J\l¡c UNlFQRfrl TNSTRU¡I|ENI'   Form   loJ.t ll0l         (¡nge   al   o/   ll ptgtrl


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 nlortgog,c insurer's risk, or reducíng losses. ll-sush agreement provides that an aflìliote      q[ Lender t¿kcs n shn¡c of'rhe
 insurer's risk in cxehnnge lor a share of the premiums poÌd 1o the insurer. th€ anãnßemeflt is oflen terrnetl "cåFtivc
re inSurance,   " Further:
    (a) Any such agreernent¡ will not tffecl the amounß fhat Borrower has agreed to pay for Mortgoge lnstrnncc, or nry
otÀer tsrms of the Lo¡n, Suuh agreemenu will not increase ths Dmount Borrorvpr rvíl,l owe lor Mortgage fnsurance, unci
they will not sntitlp Borrower to any reñjnd.
         (b) Any ruch ngr*emenb will not ¡ffecl the righfs Borrorver hqr - lt nny - rvith respcct to the Morlgnge
lnturonce uoder the liome.owner¡ Frofscliou Act of l99E or nay other ìaw, These rfgbts mly include lbe rlgbf to
reeeive ccrl¡ln dì¡clqcurcs, to request sud oblåin c¡neellntlou of tbe Mortgege Iutnrnce, (o h¡yc the Morlgnge
Insursnce termin¡tetl rutomstieålly, nnd/or lo rcecivc a refund of any Mortg*ge Insurance prcrniums thsl werc
unearned ot the lime of suclr c¡nccllallon or termin¡tion.
        It. Arsigtru¡enf of Miscollsreoos Proceeds; Forfeiturc. All Miscçllanequs Prûceeds are herrby assigned to
¡nd shall be paid to LcnrJcr.
         lf   the Property is damaged, such Miscellaneous Prçceeds shall be applied to restoratiou r:r repair     olthc Properry,
if  the restoratìnn or repnir is ecoromieally I'easible and Lcndcr's sccurity is not lessened^ During such repair nnd
resl()rätion period, l.endar sholl lravc the right tç bol<i sucTr Miscellaneous Proceeds unlil Lendcr hes harJ an uppornrniry tr:
inspcct such Propertv lfl Ênsure lhe rvork hnq been cornplelcd to Lender's satisfaction, provided tl¡st such ínspection sh;rll
tre undenalien prurnpfly. Lsndor rnty pny for the repairs and resloration in n single disbursenent ur in ¿ scries ol'prugress
pûyments as tllc worh is complctcd, Unle¡s an ûBrêuncnl i¡ m¡dc in rvriting or Applicable Lax'rcquircs inleresl ro be
puid on such Misccllf,flcÐus Procteds, l-cnder slr¡ll ncrt be rtquired to pay ßonowcr any inlerest or eanrings on such
Miscqltencous Proceeds. lf the resto¡nlion or rcpair is not ccononriçîlly leasible or Lencler's seeurit¡, ryoukl be lesscned,
thc Miscellaneous Proceeds sbnll be applied to the sums sccurcd by this Security lnstrument, whe(her or not then due,
with the excsss, ill any, paid to Borrower. Sr¡ch Miscell&neous Procacds shnll hc opplicd in the order pravided for ln
Section 2.
        ln the event of a lo¡al taking, tlestruction, or loss in value ol the Proprrty, the Miscellaneous Prçcecds shotl l¡e
applied to ths rum¡ sect¡red hy this Security lnstrumÈnl whether crr not ¡hen due, wifh (he cxcess, iF any. poid to
Borrower.
          {n t-he cvenf nf a partial takin6, destnrction, or loss in valuç of'tlre Property in u,hich tbe fair lnarkei valuc of thr
Prope*y irnnrediately before the parlial tlking, <lestruclic¡n, sr loss in value is equal to or &rcÉtcr thrn the ¡mount ol the
sums securçd by this Security lnstrurrrer¡( irrrnredintely tlefore thç panial taking, <Jestrue(iorr, or loss in vllue, urrless
Ilorrçrver und Lcnder nlherwisc agree in rvriting, the sums secured by this Security lnstrurüen[ shqll hc rcduced by the
¡rrnount of the Miscell¿neous Proceeds multiplied by the following lr¡¡uli<¡n; {o) úe lotal amount of lhe sums secured
imnrediately bcltrc the partial taking, slcstnrclien, or loss in value díviclrd by (b) the fsir ¡nqrket valuc of thc Pruptrfy
immcdint*ly bef'crre the parríal taking, deslruclíon, or loss ín vslue, Any bularrce sh¡rlt be pnid to Borrorver.
          ln lhe evcnl of a partial laking, deslruction, or loss in value of the Ploperty in which the fairmarftst valur of the
Propert-y ímrncdiately before the pûrliål tnking, destruction, or loss in value is less than the aluounl of tlre sums secrrred
imnrediatcly befere the partial taking destruction, or loss in vtlue, unltss Ilor¡ower and Lcndcr ctherwíse agrec ìrr
rvriting, lhc Misccllalrccus Proceccl.s shnll be npplied to ¿hc sr.¡¡ns -securcd by this Security lnstrùmenl whether ¡)r ilclI rhe
surns &rc thcn duc.
          llthr Properry il ¡bandoncd by ßorreirvr:r, or il, ¡fìer rrotir--e by Lender ln Ëlorrowcr th¡t the Opposing liarty (as
 dclineci in lhe next sentcnce) nffbrs to make 0n nrvard fo seüle a claim l-or dnmnges, lJo¡rorver fails to rcspond lo Lentler'
 rvithin l0 day.r afrcr the d¡te the notice is given, l-,enrler is authorieed to colleçl and npply the Mircclluncous Proce¿d;
cíthcr to restorât¡$n orrepair of the Property or to ihc -çunls secured by this Security ìnslnrmen\ whettrer r.rrnol lhcn due.
"Opposing Fafiy" rrrear;s the third pilny llìrìt owes B¡rnoryer Miscellnneous Procçerls or the party against wltom Borroçr'er
hus e right of nction irr rcgord to Misccllaneous Procecds.
          Borrprver shall bc in defsult if sny actínn or proceeding wheil¡er cir,il or erimìnnl, is hcgun lhal, in l.cnder'l
juelgment, could resull in lorÍe iture of the Propcny or tfh€r n¡nterial impoínuent of Lender's interest in the Propeqy or
 rights under this Scc*riry lnslrurnent. Èorrorvel r:fln çure such ¡r rlefault ancl, if acceleralion h¡¡ occuned. reirrslntc a,ç
 provided ín Sçction lÞ, by eausirrg lhe nerion or proceetfing to he ¡lîsmissed witlt o ruling thôt, in Lender's judgment,
 precludes forfei¡urc of the Property orother matcrial inpairmeRt olLender's interesl in the Property or rights undcr this
Securirylnslrument" Theproccedsofanyuwardorclaimfordnmagesthstðrita¡tributabfetotheirnpairnrcnloll..cndcr'r
interest in thc Propcrty ore hercby assigned nnd shrll be paid lo l,endcr,


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         All Miscell¡¡leous Procueds that a¡e nol applied t¡: reslor¿lion or repair of the Properly slrall be applied rn the
 order provided lor in Secfion 1,.
           It.Earrower Not Rclsnsetl; Forbeamnee By Lender Not n ry'9aivcr. Extension of tJre rimc for payrnenl or
 nrodificalion ol ¡mortizalion of the sums sccurcd by this Security lnstrumefit grnnted by Lender tc, Borrtiver or ¡rny
 Sucçcsssr in lnterest of Borrowe¡ shall not opsrÁtc to r¡þ¡sc ùc liabiliy of Borrower or any Successc¡rs in lnterest of
 åorrower, Lender shall not hc rcquircd to commcrce proceedingð againsl any Successor in Interq:¡t of l¡onqwer or lo
 reñ¡se to sxtend tìme for payment or othenxisc modíff amorlization of the sunls secured by rhis Security lnsrgrnenr by
 rË{Llon o                                            r or any Successors jn Interest of Bonower" Any fcrrberu:ance by
 Lender i                                               without li¡nitation, l,ender's flçceplance of payirents from tbird
persons'                                                         or in ¿mounts less than lhe arnounl then due, shall nor be a rrysiver
of or precludc the exercise of any righr or remedy,
         13. Joinl ¡nd Seren¡l Lilbitíty; Co"slgoens¡ Succescorî and A*signs ßound. Borrowu¡ cover¡ilnts rnd                          ogrees
                                                  shall bs                ertl,
                                                                             Howeverr sny Borrower who co-signs this Sccurity
                                                l€ (a "co              is co-signing this Security Instrument only to morlgage,
                                                  in úe Pr            thc tcrms of this SccuriÇ lnstrument; (b) is nor peruonaily
                                                 is Seeuri         enÇ and (c) agrccs thaf Lender and any oahcr [Jorrower can
flgtce tt Èxtend? rnotlifo, forl¡ear rrr make any nccommodÂlions wilh regard {o the lsrms of lhis Security lnstrulnent nr the
Notc withcut the co-signer's conssnf ,
         Subject 1o tlrc provisinns of Seclion 18, any Successor !n .hterest ol Bonorvcr wlm assumes Boffow€r's
                                                      íng, and is approverJ by Lcndcr, shall obr¿in ¡¡ll sf'Borrower,s dghts antf
                                                      er slr¿ll nol bc released from Bonowcr's obligalions and linbilìry uncler
                                                      such relense in rvritíng. 'l'hç covenanls and ngreentsots af this líecuriry
lnstrun¡eot çhall bintl (except as prcrvide<J in Section 20) and benefìt the succçssors and asigns of Lender.
         l;l' Lcan Charger. LendEr ntuy cltarge llonowçr fees for gervicss performed in conncclion rvith Bc¡rrorvcr's
dufault, fcr the purpose of protecting Lender's ¡ßlerÊst in the Propert¡'and ríghfs undcrthis Securify lnstrunrcnÍ, including,
but not limited to, otforneys' fee*, propertv ìns¡rection nnd valuation fees. In regnrd 10 ûny othcr fces. fhe abscnce r:rf
*xprÊss authority in lhis Sçcuriry* ¡nslrume¡ìt (o rhergc u specifìc fee ro Borrowershall not bc conrtrued ¡s I prohibition on
the charging of such fee. Lc¡ttlcr m0), not charge lbcs that arc exprcssly prohibited by this Security lns(rumen( or by
 Applicahle t,arv.
          Jf ths Loan is subject to a law rvhich sets nræiinlum loan charges, and that law is lìnally interpreruC sr¡ lhnr rhe
 intercst or othe r loan chorges colleeled or tcl be collecteri in connsction with the Lo¡lr cxceed rlre pennincd lirrits, tlrc.r: (a)
 any such lnan charge sh¡ll bc reduce<l by thc amounl neruÊ$sûry to reduce the elrlrge lr the permifled limit¡ arrd (h) nny
 sums already uollectcel fiom Eorcrver t'hiclr excreded pemritled limits rtill be refundçd {o Bsrrewcr. f-endcr mny
ch<;ose {o ¡nnkc {his refuncl by reducing úc principnl owed uncJer tlre Nutç or hy making a d[rect paymcnf lo Bonower. lf
n rcfunrJ reduccs principal, the ¡edueLion rvill be lreulcd us a partiul prçpâyrnÉflt rvilhoul any prepilyrnent clrorgc (rvhether
ûr nol ¡1 prcpaymenl charge is providetl for under the Note), Ðonorver"s ücceplflnce of any sush refund mode by dìrect
Ftytnenl fo Bt¡rrorvcr rvillconstitute a waiverol"+:ry right of uction Bonower might hrve arisìng out of such crvcrcharge .
          l5' N*(ices. ¡\ll notieqs given by Bormwcr or Lcnder in conncction rvith this Securiry fnstrumcnt nrusr be in
writing. rtrrry notice to Burrn¡.ver in connection lvith thi¡ Security lnstrument shsll bc deenled to lravc been givcn ro
tJorrr¡rver when mailed by first clnss ntail crr wt¡err nctually delivered lo Sonower's notice addrcss if srnt by ûrher mcans.
Nof ice to ony $ne Br.¡rrnrve r shnll cnnstìlute nulice to nll Borowcrs unless Applicable Ltrv expressly requires otherwisc.
'l'he norice addre.ss shall be thc Property ArJdress unless Ël<¡rrorver hus
                                                                               designatetl u sutr¡titute nolice atldres.ç by notice ro
[-endcr. Borrorvcr shall prornp:ly notify L.ende r oi" Borrr:wer's clangs ol addre.ss. lf l,ender rpecifìes a procedure frrr
rspofling Btlrrower's chnnge of address, tl¡en Bcrrcrver shall txly report a change of acldress thrcugh thut specincd
¡rrocedtrre. There ntay be only one designated nol.ice rtldress undcr this Secnrity ln$lrumerit at ony one tinre" Any noricc
lo Lenclcr shall be gilen by dclivering it or by nrailing ir b-y firs{ clas.s mail lo Lender's nddross slated herein unless l-cnder
hns rlesignaterJ ¿nnthcr¡ddrcss by notice lo llorrower. :Any notice in corrnectiorr rvith this Securiry tns(rumenl sholl ¡ror be
cleemecl to hnve been given 1o l-e¡rrleruntil octually lereived by Lendcr. lf ony noticr rilquired by tlris Securiry lnsr¡r.rmenl
is nlso required uneler Applieablc Law, the Applicable tr,arv requirenlent ¡vill satisfy lhe curresponding requircment un<Jer
this Security lnsrrumcnt.
         I6. Governing [,¡w; .Sevcrahilify¡ Rulcs of Conslructfr¡n. '[his Securiry lnslrument shall be governed by
fcdcral law ¡¡nd thc law of the jur¡sp1ion in whieh the Propefl,v is locatetl. All rights and ohligations eonrnined in rhis


                                     Ml                                         ÐÉ-
VIRç|N ISL1NÞ$*Srngh hrnify-- Frnnlr l\l¡t¡f¡rtd¡llc i\lee tJNlFQtlll INSTRUhIEI\'T Fmnr 105{ lr0l                    {¡xgt   E o{   lt   ¡xgts)


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 Security lnstrumcnt arc subject to any requiremenls nnd limitatisns of Applicable Law. Âpplicable l-aw rnig¡r
                                                                                                                     explicitly
 or implicitly allow the parties ts sgree by contract or it nright    he sileni, bur such sitence sh¡il not be qoìsrrucrl ou
                                                                                                    Security lnstnrmenl or the"
 prohibitirm. against agreemenú by contract. ln lhe cvent that any provision or clause of (his
 Note conflicts with,Applicable ['aw, ruch conf]ict rhalt ooroffeiotherprovisions of rl¡is Security Insírunren,
 which can be givcn effecl rvithour rhc conflicting provision.
                                                                                                                   o.i¡"Ño,*
           As used in thi                                   of the masculine                 mean nnd inchlde corresponding
 neulcr words or wt¡rds                                      in thc singular sh              inclurJa ùe plurul *J ui"I".rrr;
 rnd (c) thr word "rnny'                                    obligation to take
            l?' Borrower                                                      6ne sópy of thc Note and of this Security Instrumeni.
       18. Ta^nsfer of thc Prope rq¡ or I Beneflci¡l Inl¡rcsl ir Borrowe r. As used in ¡l¡is Sèction 18, .,lntcrest
                                                                                                                    in                                the
 Propeny'rncsnl ûny lcgal or beneficial inlerest in the Properry, including, bur rrot linrited to- those beneficial
                                                                                                                                             int*rur*
 transferrcd in a bond for deed, contråct for deed, insl¿llment sales conùact or escrov,, ûgreemÊnt, the inf ent
                                                                                                                  of rvhích is the
 transfer of title by Bonowcr ¡t o future d*te lo a purchaser.
          lf ¡ll or :rny parl ,of the Property or eny Inlercsf in thc Property is sold or fansferred (or if Bonorvcr is not n
 natural pencn and a benslìcíal ;nl€resl in Bonower is sold or transferred) without Lcnder's prior rvritren consent,
                                                                                                                          l"ender
 may requ¡rc  immerì                                                                                         option shail not be
 exercised by  lcnde                                                                                          úris option      (a)              if:
 llonower cfluses to                                                                                                        nsfercå æ        i[a     new
 loan were being rno                                                ably cletcrmines tha( l.ender's security will nof be impaired
  by the l0an ussumptinn and th¡t thc risk cf a breach of nny covennnt or ûgrecmfnt in this Securíty Instnrmeqt is acccþuble
  to Lender-
           To the extenl pcrrnitted by Applicnblc l.aw, Lender may chargc a rrasonable fee as ¡ col¡díric¡n lo Lentler's
  consenl to the loan lssumption. L¿nder        nr¿        uirc          tl¡                                 nt thst is
  to Lende¡ ¿nd th¿r obligates lhe        l¡o¡rsfcree       I the         p                                  ancl in rh
  lnatrunrenl. Borrorver rvill continue lo      bc                     unrler                                c¡s L,cnrj
  Bonorver in writing-
           If'Lcr¡der exercis&s the oplion to requíre i¡nnrcriiatc paynen( i¡r fì¡li. Lencler shall give Bor¡ower notice ¿rf
         ion.
 acccleraf                                   period of not less rha¡¡ 30 days from the date the neticc is given in nccordancc
 wilh  Section                               nust pôy all surns secured by this Sc'curity lnstrun¡ent. lf Bärrowcr fnils to pay
 thest sums p                                pcri<rrl, l,errder mny invoke any rcrncdics pcrmined by rlriv $ecurily tnsrru¡nent
 rvithouf furlher ßotíce or dÊmsnd on Bqrrorver.
        l!"     Eorrower'r Right ta Reinsttte Aftor Acceleratlo¡r, lf Borrower rneels certai¡r conditions, Borrçrvcr shall
 hnve the right to have enforcerncnf üf this Security lnstrumcn{ discontinuerJ åt åny time prior to thc e¡rrliest of : (a) five
 days bcfurc salc of the Property purstl¡¡nl lo any power of sule conlaincd in this Secur¡ry lnstrumeni; (b) such orhei pcriorJ
 as Applicable Larv might specifu for lhc tern¡inalion cf Bonuwsr's righl ro reinstste; or (c) entry of a.judgment enfàrcing
 this Security lnslrurnent. Those condi¡inns are that Borroler; (n) p¡ys Lender nll sums
 rvlrich then rv<luld he dtn under this Security lnstrument and lhe Nore os if no accelerntion had occurred; {þ) cures ony
rJclnult of nny other covenanls or agreements; (c) pnys nll expenses ineurred ín enfbrcing this Security lilsfru¡nenï
 includiog, but nol limiled lo, reasonable atlnmeys' lees, property inspeclian and v¡rlu¡tion fces, und othe r f'ee"r incuned for
 the purposc ol prolçst¡ng l-cnder's inlerest in the lrtrpcfy and righu r¡nder this Security lnstrurnent; and (d) lukes sush
sçtitut Í¡li Lcndcr muy reå{önthly require to å$sure thnt Lender's intelsst in the Pmpcrry and righls unrler rhis Securìç'
Insl¡urnent, qnd Bonoryer's obligation to pay the sums sscured by this Securiry fnstrurncnr, shall conrinuc unchongeJ.
Lqnder rnay require lhot borrower pay such reinsfatemenl surns nnd expensss in one or rnorc of úe follorving forml as
se lucte¡J by Lendcr: (¡) c¡uh; (b) money ordeç (c) certilied check, hank checlt lressurer"s check or cashiãr's check,
provided any such check is drarvn upon an institution rvhose depolils are insurerl by a federal agency, insrrumenlality or
entity; or (tl) Electnrnic Funds fmr¡sfer. Upon reinstaternent by Borrorver, rhis Securitv lnstnrnlent antl ohligarlons
securtd hercby shall rÉmrin fuily effective ¡s if nq acceleration had occurred. IJorveven this right to reinsraÌe shilì not
apply in ll¡e casc r¡f acceleration under Sec.tion lS"
          20, Esle of Notc; Change of Loan Serviccr; Nolice of Grio'¡lnce. The Nole or a paíial iutcrest in the Norc
(together rvith this Security Inslrurnent) can be sold one or more tinrcs withoirl prior notice tc¡ B<¡mçtvcr. A snlc might
result in a change in the entity (known as the "Loan Sen',iceC') lJrat collccts Ì,eriodic Poyments due under rhe Note ond rhis
Securiry lnstrumen{ and pert"or-ms olher morrgage lorn servicing obligations undcr the l..lote, this Secrrrily lnslnlment, nneJ
                                          ,/'
                                        WÐe     ì

vl;l$lN l$tr\Ñfì$*$tnglc firnlil¡'. licnrlr Þl¡e/Ércddh ¡\l¡r   Ulf IFOFÀ|   ¡t{*sl'ttUlllËñf   I'r¡rm   10i4 lrÍt              @tgt   Þ   q/ I t   pgts)


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  'Applicable Law. Tlrcre also might be one or more chnnges of the Loan Servicer unrela(çcl to n sale çf rhe Nofe. lf there is
  a changc of the Lonn Serviccr, Borrorcer rvill tre given Ñritten notics of thc change whieh
                                                                                                ¡vill state l¡e n¡mc and a¿dress
  sf thc new Loân serviccr, lhe addrcss to which payments sl¡ould be made and ¡iy ofhe¡ information RESPA
 coru¿ction with a notice of transfer of-.servicing. If the Note is sold anci thereafìerihe Loan
                                                                                                                        rqr*s in
                                                                                                 is serviced by a l.,.an S**i.c,
 other than ùe purch*s*r of thc Nole, thc moñgage loan servicing obligutions to Bona¡ruei u,ill
                                                                                                           renlain wirh the l..an
 Servícer or be lr¡nsforrcd (o s successor Loan Servicer anrJ a¡e ãot esiuu,ed by the Note purchaser
                                                                                                                  unlc*s othenvise
 provided by the Note purchnscr.
          Neíther Bon$wcr nor Lender mnv co¡nmence, join, or bc joíned to a¡ly juclicial action (es
                                                                                                              either an indivitluat
 litigant or the member of a cless) thnt arís.s frorr t¡e'ortrei parÞ,'; oc.tions pursuant fo this S¿cu¡iry
                                                                                                                Inshument or rìol




                                                           rnd the noticc oluccelera{içn gìver¡ to Borrorvcr pursuünt to
                                                          ity to tnke cotrective acfion provisions of this Sec¡ion 20.
           2L    Ilaz¡rdous Sub¡lanecs. As used in this section 2l; (a)"Hazardous Subrranceç" ßre lhosc srrb;tnoces
                                             lutants, or wâates                e                   fulfowing substsnces;
                                               petrnleum produ                 t¡                 des, vr:laiile solven6,
                                                        snd radioåglivc      m                    "                        w"   ñrcans fedeml laws

 whsre the Property is foc¡ted ùat rclate {o henlth, sa                               ment¡l prolection; (c) ,,Envirn                                        p",
 include,ç ûrìy resprlnse aclíon. remedial nction, or rc                              as defined in Environnlental                                           ¡n
'nEnvif,c¡nmcntol Condition" lüenns a cc¡rdition that cnn                             bute to,        or   ollrcnvi.çe   triggcr                             lal
Cleallup
                                                                                    l. stornge, nr       rele¡sc                r<tous Substauces,
                                                                                    Borruwer shall not d                        nnynnc else ro rio,
                                                                                    nment¡l l,aw, (b) wl                        a¡r Err,ironme¡tal
                                                                    "çe               Suhsronc
                                                                          of a l.loz¡rdou¡                                  d¡tion lhnt adversely
                     ofthc- Pro                preueding two $enteflcci¡ shall nol apply to r           sc, or srorage on the
                     qunntilies               us Substar¡ccs ahsl trre gener*ily recogni"ecd lo          lo nonnal rrsi<jcntial
                    en¡ne e of I          (including, bttt nol lirnited to, hnzardous substmces in consumer products).
        ßonower shall prornplly give l.ender writ'len notice ol'{a) any investigation, clairn, dernand, tnwsuit or other
nction by âny goverfinletrt¿l sr regulalory ogÊncy or private party involving thc lÌoperty nnd sny Hoznråous Subst¡nce
                                                                                                                             or
Envireinnlental Law of' which Borrower has ¿clu¡l                      (b) any Ënvironmental Co¡ldition, inctudìng bur nr"lt
limited lo, any spilling, leaking, dîschorge, release or             eose of any Hazardo¡s Substance, rn¿ {c}anyiondirion
cuused by the preseltce, u5È ¡¡r releasc ¡rf ;¡ Huzardo         lance ryhic.h adversrly ¡lflecls the yaluc of t¡e f,io¡rcrty. lf
lSorrorver leån:s, or is notified by any ßovernrnsntrl or rcgulatory authority, or any privata pilr1yr thût rny on,ouui o. oth*,
relrredi¡tior¡ olalry l{aarrcJous Substance affccting the Ptopfly is nrcrssurv, Borrurver shall promprly toke all ncccssury
rcmedial astiotrs in ¡ccordaltce rvith Ë¡tvironntcntsl [-arv" Nothing herein slrall create âriy obligaiion on Lender lirr an
f:"ìnv ironmen(nl C lea nup.
           NON-UfllFORM COVËN.ANTS" Borrlrwcr and l."ender fu¡rher covenanr and agree as lollols:
        72'                                    Lender shnll gire notica to ßorrower prlor to ¡ccelcralion follon'ing
RorrÔrycr'                                  lgrectnell il¡ this $ecurify Ins(rument (hrrt not pricr ro lccelen¡lion undei
Section l8                                  vides othcnvisc). Thc nnlfce shull specify: {u) thc defoult¡ (b} thc lctign
requiretl lo curs the defnult; (c)¡ daten not less tb¡n 30 days from the dnte lhe notics ls given lo ùorrowcr, bv
wbìcl¡ fhe tlcf:¡r¡ll musl bc rurerl; nnd (rt) th¡f fsllurc lo ßurc tbe tlrfsull on or l¡afore tle dale specilìed in the ¡otice
nlny resu.h ir ncccl*rntion of lhe sumg sçcured by fftis Security Instrurnent snd foreclosure an.l s¿le of lhe
l'ro¡rcrty. 'Ih¿ nolict sht¡ll furtLer inform Borron'er of thc righl tn rcinstnte nfter uccrlcnllion and l5e rlghr ro
o3scil ¡u lùe foreclorure pnrceerling lhc non-exi-sfcnce of ¡¡ dcfaull or¡ìry othcr riefen.rc of Borrower lo accclcia¡ion
¡rnd foreclosure' If the defrult ig not qured on ur l¡tforc the datc rpcclßed lil the notlce, tændrr nt i1r oplion nrty
require imlrtediqfe paymenl in fulf cf sll sunn secured by this lieeurity lnstrumant withouf nrrther ¡lclr¡nnd and

                                         ú)                                       p¿.
vlRCrN l$tzrN0$*Srrr¿lt famrly l:rnnlc u¡¿'¡Ç¡l¡c tllae LjNlFORi\f lNs-rRlrhrñ;lrT Frrm   l0f,t   tÂrt                             (p<tgc   l0 at   I¡   ,flßÊil


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 n¡ïy for€close this fiecurity lnstrument by judicial proceccling, [,ender shsll be entiilc¡ lo collect oll expenses
 incur¡ed lo pursuing lhe renrorlies provided in this Secrion ?2, including, hut nof lin¡itetl to, rensooable atlorneys'
 fec¡ end costs of court.
         2l- Relsrse- Upon payrneflt crf ¡rll sums sccurccJ by this securiry lnsrrumcnr, l.ender shnll rcle¿çe this Security
 lnst¡umen(. Ëlorowcr shaf I pny aoy rrcordation cogts, Lentler rnay clrargc Bçrrorvcr a fec lbr releasing this Secunry
 Instrumeilt, buf only             if tlrc fee   is paid to ¿        tllixl party for   se¡vìces rsndered and the charging of the fee is pirminc<l un,Jer
 Âpplicable f .nrv.
                24,       Attorneys' f'ee*" As used in this Securi[y lnstrument ¡nd the Note, rttorneys' fees shnll inclutJe                                          tho.se
 awnrdcd hy any court.



                lìY SICNINÇ nËLcw, Boncwer                             sccepLs and agre.es la fhe tenns            anql cuvenants confained     in lhis Sssurìty
 lnstrurnenl and in any Rider exccuted t:y                          Boro'*er ¡nd recordcd ìvith il.

 Witncsses {æ ro              borh);                                                   BORROWËR:




                                                         [Spnce Bclow This t,ine for Acknowlcdgnrcutl

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                          OF TI{Ë VIRÚIN {$I.,,\NNS )
DISTRïCT üF ST.                  CROIX                                 J   ss   Àckrr*rvledgrricnt

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                                                                                               Notary Public. Trrrjt0ry ol thr Virpin lslands
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                                             T-4   FAMIL}' RIDtrR
                                          ASSIG    N   IVIENI" OF REI{TS

     THIS l-4 FAMILY RTDER ls made tfiisJuly 14, 2010, and is incorporated inro and shall be decmed
 to nmend and supBlemcnt thc Mofigage, Dced of Trusl or Scrurity Dccd (the "security l¡¡strument") of
 the sn¡ne dale given by the undersigned (ffte "Hurrower") to $€çure Borrotver's Note to TFIE B/INK Otr
 N0VA S('Ol lA (the 'l.ender") o[ the                                     describctl in Lhe Security
 lnstrument ând lÕ{åted frt:                                              Norfhsíde ancl Company
 Qu¡ners, St. Cm!ç Urírcd SWs in-6hn-ä$.
         l-4 FAMILY CCIVEN,{NTS. ln uddilion to tlte covenants and ngrcernents rrracle in rhe Sccurirl
 lnstnrmenç Eonowe r and Lcnder Í1lrüler covenanl and ngrcc as fcllou,s:
             .T. À,ÐNIT¡ONÁL PROÍ'NRTY STTBJEC-I' T'O THE SECURTTY
    ¡NSI'RIJfÉI|NT. ln addition lo tfie Pîopçrty described in Security lnstrurnenq the following
    ilerns nurv or hereafìer afi¡ched to the Propcrty to lhc ex(Énl the1, urr fì-xturcs nre arJded to the
    Propeny descripticrn, nnd *hall rlso cons¡itute the Propeñy cor,crcrJ by tlre Securil-v lnslnrrnenr:
    building rnatsr¡{tls, appliiurces and goods of every rmture whåtsûÉr'er no\t or hercafìer locutrd ín,
    on. ¡r used, ur i¡rtended ttl be use¿f in connecrjon u'ith the Properly, including but n$( limited to,
    thqse for thc purposos of suppl¡,irrg or di-stributing hcating cooling, clcctricity, ga,q¡ tv¡¡tilr, air anql
    lìght, fìre prevention and cxlinguishing apparanrâ, security and occess Conrrul appûratus,
    plumbing, batû tubr, waterhs¡lers, l¡'aler closels, sinks, runges, stoveßr refrigcralors, dishwaslrers,
    disposals, rvrshers, dryers, awnings, srorm windows, slorm doors, screens, blind.s, shacrcs,
    curfains and crrtaÌn rods, aflached mirors, c*rbinets. panelíng and annclred ßuurcoverings, all of
    rvlticlt, incluclìng replacemenfs ond sdditions thereto, shall b¿ deemed lu be a¡d remain a ¡:art r:[
    the Pnrperly covered by the Securiry fulslrufl€nt. ¿\ll of the foregoing logether rvirh the ]rnpert¡,
    dsscribed irt tlte Sscurify Inslrument {crr the leasehcld erta(e if lhe Securiq' lnstrument is on r
    leasehold) are refen'ed tq in this I*4 Fanrily Ridsr and the Security lnstrumenr as r-lrs "Properry."
             ,1,      USff OF PIIOPËRT'Y; CCIMFl,lANÇÉ WITH LAW. Borrorver shell                               nor
     scek, agree lo or nrake a chon5le in thc u*e o[ the Property or ifs aoning cla-ssifìcafion, unless
     l-euder ltns *grectl in rvritirtg to the chnngc. Bon'orver shull cornply rvith nf l larvs, orclinanee*,
     reguiations and requiremenls olany governmenlal bocly npplicable to the Prope rty.
              C, S[tBOIlD¡NA-ff LIDNS. [xc*1rt as pennillcel by li:tleral larv, Borrower shall
    nol allcw any lien inferinr to the.sccurity lnshumeflt tc, bre perfectcd agninst the Property rvithoul
    Lendcr's prior wriflcn pernission.
              f).       tlÌ:N'I' Lf")S.li INStlR.4NCn. Sorrotyer shall rnnintnln insttronce again"st rcnl
    loss in nddition to lhe other haz¡rcls for rvhich insurnnce i"s required try Section 5.
              f, "BORROWER'S R.IçII'i T() RBINST.ATE" DILETED. Scc{ion l9 is dclelcd
              t'.       tìCIRROWER'$ OCCITPÁNCV, U¡tJess Lcn<je r nnd Sonou'cr olhcnvise ogree
    in rvrìting .$ection 6 ccncenring Borrrrryqr's Occupôncy of lhe Propcrt¡, is dclctcd.
              G" ASSICNþIDNI' Olr LHASIIS. lJpou Lendcr'i reque-st after <lelault, Bonolver
    shatrl n.ssign to l"endcr all lease"s of th* Property anrJ all seuuritry deposirs node in connection rvilh
    leases of the Prupcrly. tJpon the assignmenl, l.ender shull have thc right to moclify, e.t(te¡d or
    terûinfilÉ the existing leases and 10 exesute flew leûs€s, in Lender's $ole d¡seretian. As used in
    this panrgraplt C, llte rvord "leess" shrll ¡ne¡n "soblease" ìf the Security fnstrurnent is on a
    lsusehold.
             H. ASSIGNI}IENT OT RENTS; APPOINTIVIDNI' O$ RECEMIT; Ltrl{DER
   IN IIOSSflSSION. Borrorver absolulely and unconditíonnlly assigns and transf¿r.s ro Lender all
   the renl¡ and revenues ("Rents") of the Properg,. regtrdless of to rvhonr tlìÊ Rents oltlre Plopen¡-
   {lre püyüble, Borruwer authorizes Lønder or Lender's og€nts to collect lhe Rents- and ogrees lhal
   each lenant 0f the PropÊny shall pay the RerTLr la l"erìder or l,ender's rgcrtts. H*wever, Bororver
   shall receivc thc Rents until (i) Lender lus gir.en Borruwer nt¡ticc oldclìtult pursu:rrrt to Srctíun
   22 çf ttte Security lnst{unlent nnrl (ii} LentJer hos given notíce to the lenant(s) that the Rents are {o




                               w                                                                     (ptge I o,l2 ;Nge rl


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                        be ptid to Lender or Lender's agc'nl 'Ihis æsignment of Rent¡ constìrures an ¡bsolule assigrrnrent
                        and nol crr assignment for additionll securiry only,
                                     lf
                                   Lendpr gives norice of default to Borrorvsr: (i) all Rents rcceived b-v Bonorvrr shall be
                        hrld by Borro'wer   as tn¡3lc's for the be¡reñt of'l,cnder only, fo bo applicd to thc su¡ns secure<l by
                       the Sccrrrìt-v tnstnrment; (ii) Lendru shnll bcentitled to collcct ¡rnd receiye nll of the Rents of the
                       Property; (iii) Bomower agrees drat eoch tenant of ùe Propcrry shall pay all Renrs duc and unpaid
                       lo Leador qr Lender's agenLs upon Lcnder's writtcn dern¡nd lo the tenûnt; (iv) unless applicable
                       law provides otherwí¡e, all R"ents collected hy Lender 0r Lsnder's agenu shall be applied frst to
                       the custs of taking cqntrol $f and managilg tl:e Property and collecting the Rena, including, but
                       not limited lo, ¡Íorneyls fecs, receiver's fccs, prerniurils on receiver's bonds, repair and
                       maintenâncÆ costs, insurance premiurns, loÍes, ass€ssments und other charges          on the Property,
                       ar¡d ilten to tlte sucl¡ sçcurçd by the Securíty fuistrumenl; (v) l.errdcr, teoder's ûgent.s crr ¡uy
                       judicially appointød ¡cceiver shall be liable to rccor.r{¡t lbr only those Rents actuolly receíved; and
                       (vi) Lender shall l¡e entillÉd to hlte a receiver oppoinled to take possessinn of orrd rrranage rlre
                       Property unrl eoilest lhe Rcnts entj prcrfìs derivcd fronr tl¡e Property r.r,ilhout any shou,ing os ro
                       tbc inadequacy nf rhe Pro¡:eit1, as security.
                               lf the Rents of the Froperty arc not sufficíent to cover the costs of taking ce¡rtrol of and
                       mnnagìng lhc Prcprrly nnd of or:llecting Lh¿ Reuls rny lundr cxpended by Lendcr l-or such
                       purPoses shall become indsbtedness of Bqrrprvcr lo LendEr sscurÈd by úe Securi(y lnslrument
                       purtuant to Section 9,
                                Borrçwer rÊpreeãnls ond rvannnts lhat Borrorver hnç nol executed any prior assignment of
                       the Rents ¡nd has not perforrned, and will not ¡rerform. åny ûct thst would prevent Lender from
                       cxercising ¡ls ritftß un<Jer lhis paragraph.
                                Lender, or Lcnder's ¡genls ar a judicially appointed receiver. shsll not be required to
                       enfer uÞcn, t¿ke control of or r¡rainlaìn the Properq,before or nfìer giving nolícq of delar¡lt to
                       IJqnower. Hctvever, Lender, or Lendçr's agenls or o judicially appointcd receívcr, nray clo so at
                       any time whct a defaull occurs. Any applicnlinn of Rcnls shnll not c,urç or waive any default nr
                       invalidsle any dher right or rcnredy of [-ender. 'lhis nsrignmenl of RenLr qf thc PropeÍy shall
                       lcrnìlnrte rvben all the suffs çecured by the $ecurity Insrrunrent are paid in full,
                                l,       CROSSDEFÂULT PROVISION. Borrower's default or breoch undcr nny
                       nolù or ôgrecrnenl in which Lcnder has an interes¡ shalf be ¿ breach unclcr lhç Seorrily lnstrunrcnt
                       and Lendçr rnay invclke any of thc ¡emcdies permitled by the Sccurity lnstrument,

                 BY Sl6NtNG BELÕW, Borror'¡er              ücclNflrs ond ngrccs    lo the tenns nnd covenmrs contnined in this l-4 Family
                 Rìder"




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                                             AÍ}JUST"AITLII RATE RTDER
                                                (l Yetr Swep lnder - Rnle Cnp-s)
'rHtS ÅDIUSTABLE RATE
                      RJDËR is made fhis July 14,2010, and is incorporated                         intc¡ and sh¡rll be deemcd to amcnd

unelersigned (the "Bormrver-)      to secure Borrower's AdiustabÍe                    .Note") ro THE BÁ,NKbF
                                                                                tl¡e .rlrlnte'
                                                           djusrable Rale Nore (the                                 NOVA
                                                 covering the property described in thc $ccuriity ln*lnrment ald located
                                                                                                                         at:
                                                  onhside and company euarren, sf. croix. unitcd states vÍryin lslands"

                 ÏäË   NO'TE CONTÂ.INE PROVTSTONS ALLG\ryilG FOR CHANCES IN TT,IE
                 I¡{TEREST ¡tAT[, AND TIITi MONTHLY PAYMENT, THE NOTE LTMITS THÉ
                 A*.îOUNT TITE T¡OARO}ryER'S TNTERSST RATE. CAN ÇHANCË AT.dNY ONE TIME
                 /tND THf, MÂX|MUM R.AT[ THE BORROWER MUsT pAy.

         ADDITIONAL CO!çÞIANTS. In addition to the ccven¡rnts and agreenrents mntle in the Security lostrumenç
Borrorver and Lender further covcnånl *nd agrec as follorvs:
        .4. TNTßREST RATtr Á.T\D II,TONTELY PAYMEN'T CTIANGES
                 The Note providcs for an initial intereí r¿te of 4.6s0%" The Notc provi*les lbr chunges in
                                                                                                            the interest
ratç ûnd tåc monthly payments ns follows:
             1. TNTEREST RATM Är,fÞ D{ONTT{T"Y FÁ,yMENr €IlnNGDs
                     ("4) Chrng* llores
                     "rhe iflterest
                                rate I will p{y mily changc on the lìrst day af S€plembcr, 201j, and on that day every
           60r|¡ m<¡nth üereofter. Each d¡te on which my interest ra¡e coukJ change is *afieu r *,Change Date.:'
                     (B) Thc lnrlcx

           (he
           dayi
                 5                                                       ;#;i,i'åri#'ffiltriilft:î::iili,J,lî;'iÍ:ili;
                                                                      , rus rnrdc ¿vailnble by tlie Fe<ler¡l R{$erve doarrl. 'l hc
           rnost                                                     45 days befare each Chnnge F)ate is cnlled. the "Current
           Indcx."
                   lf thc lnderi is no longer avaílnble, thc Nolc H<¡kfer ryill choose a new inclex which is based upan
           cclmparable intnormation" The Note Holder rvill give rnc rro(icc of tl¡is clroiq:"
                     (C) C¡rlculnfion of Chnngrs
                   Befo¡re cach Changc Dnle, the Note |{older rvill calculatc tny ncvr interest rûte by adding two
                                                                                                                    an<l
           55/100 pËrcentsg€ pôints (2.J5%) to ths Cur¡ent lndcx. 'Ihc Nore llolder rvill rhen rounel rhc .rrilr of th¡s
           ¡ddition to lhç    nu-orest onc-eighth    cf one percentflgc poinr       (0.   125%). Subject to the lirr¡irs stnted    in
            Section 4(D) below, this rounded rmouol will l¡c my nelv inleres( ¡ntc untíf rhe nexl Change Date.
                    The Nc¡te Holder will lhen detcrmine thc ¡rnount of the monthly payrne nt tlì¡¡t rvo;ld tre sufficicnt
           to repûy the unpaid principal thnt I ¡m expected lcr <iwe at the Clrangc Dnte in full on thc rnaturity datc at
           my núrv interest rate in subst"anlínlly egual paymeum. The result of this c¡¡lcnlatinn will bc the ncrv
           ltttounl oI rlr.'r, lnunlhly paynrcnl
                    {D) Limits on Ir¡ttrcst Rate Changns
                    "l-ilc inlcrcst ratc f ¿rn rcquircd (Õ puy
                                                                    irt thc lìrst Change D¿re rvill nst be grcåtcr rJla¡r i4.689t or
           less t                        fìer, rrt¡' ìnttre$l ratc rvill nevu t¡e incrcased sr decreasecl ûn nny single Change
           l]atc                          percerttase prints (10%) from rhc rate eil interest Ihave beeri poy;rg fo, rñe
           pÍeûe                      y intercsl rale rvilÌ ner,er   b   &reiltÞr thnn 30% or less than 11.35%.
                     (tr) Ëffective Date af Cfuunges
                  My nerv interest rnte rvill becr¡rne efl"ectivu on each Changc Da¡e. I rviìl pay rhe amount nf rny
           ne*, monlhlv Fryrnsnt bcginning on the [ïrst monthly pilyn)en( datr: aflcr thc Change tjflre unlil flù
           í¡mÕunt of rny rrronÌlrly puyment changes ngnin.




                                                                                   -nE
                                                                                                            Fmnllll   ÌÆl rfr6c I g )p6c:l



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                      'l'be l{ote Holder n,ill deliver
                  the amount of         ny monlhly payrucnt befilre lhe effective datc of nny chlnge. 'I-be nolice wÍll
                            include infarmntioo required by lnrv to bc given to rue anrJ alsoibe tigã and telep¡onc
                                                                         uestion I nay have reEnrdins the notice.

                  B, TRANSFER OF'TIIE PROPERTY SR                             A,   ßD¡\TFICI,AL IN'I'ËRES'I'[N BORI{OWIITT
                              section ! ñ crlthe security rnslrumcnr is anlentied to resd as lìrllows:
                       'l'ratrsfer of tbe Propertl' or n BencfÌcial Iuterert
                                                                                 in Borrower. As used in rhis Section I ¡¡, ,,lnrerest in
                       tllc Propcrty" ûrean! rrny legal r¡r henellci¡l interest in the Prnpcrty, including, but not li¡r¡ited
                                                                                                                                 to, those
                       heneficíal interests transfcncd in ¿ bond for tJced, conlftlct lor. ,jee ú, installrnent sales
                                                                                                                       contract or escrow
                       agreenìent. the intent ol'rvhich is (he rranslcr of tirlc by Borrc,rverÐt iì
                                                                                                    futurc datc lo a purchaser.
                         lf all çr tny part of thc Froperty or any lnterest in thé Propeñy is sold or trarrsfened
                                                                                                                    {or if Bonorvsr is not
                       n nalural Ferson altd u beneficial interesl i¡l Borrorvsr is sold or translcncd)
                                                                                                          without Lender's príor wrilten
                       ç{rn$cilt. Lcnder may rcqtlìrc ilnrrreclinle payment in lì¡ll of nll sunrs secured hy t[is
                                                                                                                     Securiq. lnstrurncnl,
                       l"Iorvever, rhis o¡rtìun thall not [¡e exercised iry Lcntler if such exercise is pro]iibitcd
                                                                                                                      ¡y Àppl¡catrte l,arv.
                       Lender als¡l shall nor êxercisû this optìon íf: (.¿'¡                                             ndm
                       required by Lcndcr (e evnlualr¡ the intenderl träns
                                                                                                                         ro rh
                       aod (b) LentJe r re¿sonnhl.v rJetcrmine¡ that Lsndcr'
                                                                                                                          loan
                       ¡ud Lhat the risk of ¡t bre.tch of an,v Ëolcrto,ìt or                                               is a
                       Lender,
                        l"o the cxtcrt pl:rnrifierj b.v..Applicahle Lnrç, Lender may clrurge                             lbe es a cr:n<tition to
                      l.ender's clìfisrnl t+ the lo¡a ilssulrrption. Lender may also requiÑ t                            lo sìgn an assumplíon
                      åLlleerncnl thal is accept¡hlc tn l,ender an<1 thnt rbiigntes the irnns                             oll t}e promìses and
                      ngrctntcnts ¡¡rade jr¡ ilr< No¡c ¡¡nrJ i¡.¡ tiris Scr:r¡rilv Insirumenr. Borrfirvcr rvill contìnue rcr br
                                                                                                                                       ohligated
                      t¡ndcr the Note and tlris Sacur'lty lnslrume¡rt unlcss l,cnder reåga^çes Br)rrower in writing.
                        ll l*errcler exercìscs the option to requ¡re imnrediate paymenr in f!ll, LçnrJer shalf givä [Jorrower notice ol
                      ¡cccìernliotl. '["he notiee shall provirJe a perior! uf rrcrt less thal¡ 3CI ilays lrorn tlrc <i¿ie the nçtice ìs givcn
                                                                                                                                               in
                      acEordnnce lvìth Scc(ion l5 within rvhich torrower uru.'it pay all sums secu¡ed try rhis Security Insirunrent.
                      llBt¡rrr^vet f'ails t¡: pay thuse surrts prior lu llre c.rpirn(ir¡n t¡ithis perir:<|, Lcrrdeim:ry invokc a¡rv rernedìes
                      pennitted by this Sccurity lilslnjaltnl q'itlloul lunher rrçtrice çr derirnn<J nn Bûrrerver.

                                  BY SlGh¡Il{G ßtl,OW, Br¡rrr¡wcr ilccspts and agrces tó the (ernrs and ceventnls contained in lhis
                ,Adiustabfe Ratr: Ríder.




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                    l'l-jtS RIDtj¡ì is rnutJc tlris Jul¡. 14,':ülll. ¡nd is incorprrmtecl info
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          {he M<rrrgage, Dccd olJ'rrJsl, t)i Securi!v Dee¡J (the "securiri, insrnrmenr',)
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          ''lJorrorver"j ío sccurc l]orrórvcr's Nritc (ure'.No{e,'J
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          nntl r"'overi'g the ¡rrr;rlrerty describrcJ in rhr sseurity Inslrumenl and locate<l
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                                                                                                security ins(rumcnt, lìonowcr.
          ¿nd I-endcr iurtlrcr covenÍrnf ard irgrue as fbllows:

          I. T"I]TURA A O V,,\NCß"S,.\ NT} P ftO'T ü C'I'TiD ÂJ}YANCT.,S
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         existing iltlehtcrjne¡t" but also futu¡c advarlc*s nr¡de und
         r.ilítlûd in the Securi{v lnstrunrcnt, rv}¡r:ther such ¡rivallce.S
         ctfhenvise, lo thc same qxlünr ûs il such tr¡lurc acJvance
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                        bc no indehtedncss oulstanding al               any !
                       inle¡sst lherron and sen,ice ch;rrge              by; tl
                       I rrÌ ihc I'ilirrg cl;:tt ol lhe Secu¡ifr.       tì(. f
                                ottcr's artd ñ¡lute ridvatrces,                             no\\'ûtr                          rrndc by Lencjer t¡r lìc¡rrorl,er, lcrgcürer rvifh nny ¡¡nd nll inr¡ru-<[
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        prorn¡ltly píly f{} Lôllder rvhr:n due tlte irrQ}¡:l¡tctll¡ess ilr thc rrr¡rnler pri:vicied in ri:e Securiry lnslrulnenL
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                    vít¡rceå rnudc þ [..c.ndcr to ßorrorr,cr,                                                                              'nv
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        afier ilte r1¡lc ltcrcî1, ìlltìutling rvithout limitntir¡n, sur¡r¡ ndv¡lrced ancl upon repaynlc¡lr. readr,a¡cctj
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        while tltc indgblcû¡ress.sccur¡:d lly lhc Sectlritv lnrlron'rçrrl nroy rlecrea:;e or íncre¡se fro¡n firnr lri rìme, ¡l
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